Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 1 of 110

_ RECEIPT a ‘

UNITED STATES FULETRICT COURT AMOUNT $_/4U2
DISTRICH! OF 'MAGBACHUGETTS — suMMONS ISsUED_/2
LOCAL RULE 4.1_____——

 

2002 BEC 10 P 2:4 WAIVER FORM—_—__—_-——
MCF Sek Ee
MARY JANE CALLAHAN, U.S. BISTRIC BY DPTY. CLK, =
Individually and as dC HR DATE (Ore
Administratrix of the Estate of .

John B. Callahan,
KATHLEEN ELLEN PHELPS,
PATRICK SHAWN CALLAHAN,

Plaintiffs,

Vv.

2-123 72RCL

UNITED STATES of AMERICA,
JOHN J. CONNOLLY, JR.,
JOHN M. MORRIS,

H. PAUL RICO,

ROBERT FITZPATRICK,

JAMES A. RING,

JAMES GREENLEAF,

JAMES AHEARN,

JAMES J. (“Whitey”) BULGER,
STEPHEN J (“The Rifleman”) FLEMMI,
JOHN V. MARTORANO, and

JOHN DOES, Nos. 1-50,

Defendants.

COMPLAINT FOR RELIEF AND JURY DEMAND

IT. INTRODUCTION
1. On August 2, 1982, John B. Callahan was found in the
trunk of his Cadillac at the Miami International Airport.

He had been shot to death. A day or two earlier Callahan

had flown to Fort Lauderdale where he was met by John

 

 

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 2 of 110

Martarano. On March 20, 2001, nearly nineteen years later,
John Martarano pled guilty to having committed this murder.
2. At that time, Callahan was a married father of two.

3. John Callahan graduated Boston College cum laude in
1967. He was a highly successful accountant, who joined
Arthur Anderson in 1968. He became a junior partner in
1970 and worked on mergers and acquisitions.

4. In 1974 Callahan was recruited to prepare World Jai
Alai for sale. He was its Chief Executive Officer and
received a salary of $100,000.00 (one hundred thousand
dollars) per year. Among his duties at World Jai Alai,
John Callahan hired personnel and fired those who were
incompetent and stole from the company.

5. Among the hirings mentioned in the preceding paragraph
was H. Paul Rico. Rico’s background working for the
Federal Bureau of Investigation convinced Callahan that he
was the perfect choice to head security.

6. In 1978, John Callahan's efforts succeeded. World Jai
Alai was sold to Telex. John Callahan had returned to
Boston however in 1976.

7. Approximately three years later, John Callahan learned
that various individuals with no readily apparent ties to

World Jai Alai had in fact been skimming profits.

Complaints of this activity fell on deaf ears.

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 3 of 110

8. Almost simultaneously, Tulsa businessman Roger Wheeler
was murdered in Oklahoma. Callahan, fearing a connection
to Wheeler’s knowledge of profit skimming voiced his
concerns to Rico. A federal investigation of the Wheeler
murder then turned to Callahan for information.
Notwithstanding efforts to assuage his fears, Callahan
persisted and continued to express his concerns. Not long
thereafter John B. Callahan met his demise.

9, As is only now becoming clear, the murder was actually
one in a series of brutal slayings, all arising out of a
long and sordid business relationship between two
notoriously violent career criminals on the one hand, and
federal law enforcement, on the other.

10, It became known, in March, 2001, that the gunman was
John V. Martorano, a career criminal and notoriously
violent member of the Boston-based Winter Hill Gang
(“Martorano”). He did this on orders from, and under the
direction and control of James J. (aka “Whitey”) Bulger and
Stephen J. (aka “The Rifleman”) Flemmi, the organizers and
leaders of the Winter Hill Gang.

11. The murder does not, however, come to rest solely with
Bulger, Flemmi or the Winter Hill Gang: The circumstances

underlying Mr. Callahan’s murder, as is only recently

coming to light over the government’s earlier denials, have

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 4 of 110

their origins years before the murder and regrettably,
reach deeply into the confines of Boston’s most senior,
trusted federal law enforcement office.

12. For years leading up to the Callahan murder, the
Boston Office of the Federal Bureau of Investigation
(variously, “FBI-Boston,” the “Bureau,” or the “Agency”)
had maintained an illicit (or, in the government’s words,
“special”) relationship with members of the Winter Hill
Gang, specifically Bulger and Flemmi. More particularly,
the Agency sought out and recruited both Bulger and Flemmi
to serve as informants in the Bureau’s “Top Echelon”
informant program. The Agency did so in its dogged pursuit
of, and efforts to investigate, penetrate and bring down,
the Boston branch of La Cosa Nostra (“LCN”), otherwise
known as “the Mafia.”

13. FBI-Boston ultimately succeeded in its years~long
efforts to eradicate LCN-Boston. In the course of doing so
however, the Agency repeatedly violated its own rules and
regulations as regards, among others, obtaining, handling
and processing sensitive law enforcement information; it
repeatedly violated its own informant Guidelines, and the
Informant Guidelines of the Department of Justice, the

federal agency with oversight responsibility for the FBI;

and it repeatedly cast aside or ignored many of the laws it

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 5 of 110

had sworn to uphold and enforce. In essence, in the course
of pursuing what it believed to be its primary law
enforcement objective, the FBI itself became a “violator of
the law.”

14. Regrettably, these circumstances are not without
precedent: One federal court, assessing the FBI’s, and
thus the government’s, responsibility for looking on, and
taking no action, while its informants remained tied to the
many beatings and other harms done to the “Freedom Riders”
of the Civil Rights era of this country, put it this way:

28 U.S.C. §533 describes the duty of the FBI to
Maintain law and order, i.e., not only to
investigate, but to prosecute federal
crimes...This duty is especially applicable in
this case where the FBI’s informants were
involved in the criminal activity....When the
government disregards the directives of [Section
522], either through omission or commission, and
allows itself to become embroiled in a lawless
scheme and then does nothing to prevent that
scheme from injuring innocent citizens, it is
joining the forces of the unjust in contravention
of the majestic purposes which underscores this
nation’s system of justice.

 

Bergman v. United Sates, 565 F. Supp. 1353, 1404 (W.D.
Mich, 1983) (Enslen, J.) (emphasis supplied).
15. This Complaint closely tracks the findings of fact and
rulings of law made by the United States District Court for

the District of Massachusetts (Wolf, J.) issued at the

conclusion of more than two years of testimony and other

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 6 of 110

contested evidence in this matter. See “Memorandum and

Order” reported at United States v. Salemme, 91 F. Supp.2d

 

141 (D. Mass. 1999). Further, this Complaint hereby
incorporates by reference certain related facts and

circumstances set forth in United States v. Kevin P.

 

O’Neil, James J. Bulger and Stephen J. Flemmi, 99-10371-

 

RGS, and United States v. John J. Connolly and Stephen

 

Flemmi, 99-10428-JLT. The former Indictment charges
Bulger, and Flemmi with, among others, Racketeering
Conspiracy (“Count One”), and substantive Racketeering
(“Racketeering Act Number Sixteen”), two predicate acts of
which are conspiracy to murder John B. Callahan, and the
murder of John B. Callahan.

16.° The latter Indictment charges: that (former FBI
Special Agent and contact agent, or “handler,” for Bulger
and Flemmi) John Connolly was a member of a “criminal
enterprise” also including Bulger and Flemmi; that the
enterprise “acted to protect James Bulger, Stephen Flemmi..
from arrest and prosecution for criminal activities
including murder,” and that is “acted to facilitate those
criminal activities of Bulger, Flemmi and their

associates.” Indictment at Para. 13 (“Purpose of the

Enterprise”).

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 7 of 110

17. From these detailed, carefully-made judicial findings
and the governmental admissions (made, in part, by way of
the foregoing Indictments), the heart of the matter is
this: The Bureau reached out, cultivated and nurtured its
relationships with Bulger and Flemmi. The FBI repeatedly
and routinely protected Bulger and Flemmi from prosecution
for their ongoing criminal activities. Certain employees
of the Agency, motivated at least in part to serve the
interests and advance the ends of the Agency, wrongfully
sought to conceal from other law enforcement authorities,
and from others within the Agency itself, Bulger’s and
Flemmi’s crimes. They did this to protect and to preserve
Bulger and Flemmi’s status as Agency informants. For
example, Connolly ~ with the knowledge and assistance of
Supervisory Special Agent John Morris, Connolly’s direct
supervisor - tipped Bulger and Flemmi to the identity of
confidential law enforcement informants, who were, in turn,
seeking to cooperate against Bulger and Flemmi. Connolly ~-
with Morris’ knowledge and assistance - provided Bulger and
Flemmi with confidential law enforcement information
regarding grand jury investigations, court-authorized
electronic surveillance, and other investigative efforts,

and deflected and squelched investigations and prosecutions

of their many crimes. Connolly, and others at the Agency,

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 8 of 110

knowingly, intentionally and repeatedly omitted material
information from official FBI documents regarding Bulger
and Flemmi. Connolly, and others at the Agency, knowingly,
intentionally and repeatedly failed to report information
relating to Bulger and Flemmi, which information was, in
turn, material to the investigation of criminal activity
generally in the Boston area.

18, This pattern and repeated practice of acts, omissions
and other wrongful conduct on the part of Connolly, Morris
and other law officers employed by the Agency served to
create a long-lasting protective shield around Bulger and
Flemmi, a protective shield which, as Bulger and Flemmi
came to appreciate and to routinely exploit, provided
numerous opportunities, and thus emboldened them, to carry
on their criminal activities, including crimes of violence
and threatened violence, including murder, extortion and
loan~sharking. The United States is thus vicariously
liable to Plaintiffs where the intentional and otherwise
wrongful acts and omissions on the part of Connolly and
Morris and certain other law enforcement officers of the
United States Government, acting within the scope of their
respective offices and employment proximately caused and/or

substantially contributed to the murder of John B. Callahan

and the relate harms complained of herein.

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 9 of 110

19. The Agency is also directly liable for Callahan’s
murder and related harms, where these harms fell within the
ambit of foreseeable risk created by the Agency’s breach of
its own duty of care, such duty arising from the combined
facts and circumstances of its long-standing illicit
(“special”) relationship with Bulger and Flemmi. The
Agency, and more particularly Connolly, Morris and certain
of the supervisory staff of the Agency, variously knew or
in the exercise of reasonable care, should have known of
the exceedingly violent criminal histories and propensities
of Flemmi, Bulger and other members of the Winter Hill
Gang. Before Mr. Callahan’s murder and while actively
serving as FBI informants (approximately 1965 to August,
1982), Bulger and Flemmi, individually and jointly, were
responsible for at least two dozen Boston-area murders and
countless acts of violence and other crimes.

20. The Agency breached its duty of due care by, among
others, knowingly and intentionally failing to observe the
dictates of Agency and Department of Justice statutes,
informant Guidelines and other Agency rules and regulations
then in effect with respect to criminal informant activity,
and/or negligently allowing the illicit relationship, and

its resultant “protective shield” to take place in the

first instance, and to continue thereafter, unabated. This

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 10 of 110

direct negligence on the part of FBI-Boston, including its
supervisory staff, proximately caused and/or substantially
contributed to John Callahan’s murder in August of 1982 and
the suffering and other grievous harms that resulted from
that brutal act.

21. Plaintiffs, individual members of the Callahan family
and, by its Administratrix, the Estate of John B. Callahan
(the “Callahan Estate”), therefore bring this action for
legal damages and equitable relief by way of claims under,
inter alia, the First (right of access to courts); Fourth
(right to be secure in person); and Fifth (right of access
to courts and deprivation of life) Amendments to the U.S.
Constitution, and claim of conspiracy to deprive Decedent,
Plaintiffs and the Callahan Estate of these constitutional
rights. Plaintiffs also bring claims under the
Massachusetts “Wrongful Death” Act, M.G.L., c. 229 and the
common law of the Commonwealth of Massachusetts, such
state-created claims advanced, in turn, by way of the
waiver of sovereign immunity set out in the Federal Tort
Claims Act, 28 U.S.C. §§ 2671, et seg. (“FTCA”). These
claims for legal damages and other relief are brought,
variously, against the United States; certain named
(former) Special Agents and Supervisory Special Agents of

FBI-Boston (each such federal agent known hereinafter as a

10

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 11 of 110

“Pederal Defendant;” certain of these agents and the United
States sometimes known hereinafter collectively as the
“Federal Defendants”); the Agency’s former Top Echelon
informants - James J. Bulger and Stephen J. Flemmi; and
another notoriously violent member of the Bulger Group ~
and Mr. Callahan’s immediate killer —- John V. Martorano.
II. PARTIES

22. Mary Jane Callahan, in her capacity as Administratrix
of the Estate of John B. Callahan, brings this action on
behalf of the Callahan Estate is subject to the
jurisdiction of the District Court of Massachusetts. The
administratrix is duly appointed and authorized to commence
this action on behalf of the Callahan Estate.

23. Plaintiff, Kathleen Ellen Phelps is a citizen of
Arlington, Massachusetts, and the daughter of John B.
Callahan and Mary Jane Callahan.

24. Plaintiff, Patrick Shawn Callahan, is a citizen of
Felton, California and the son of decedent, John B.
Callahan and Mary Jane Callahan.

25. Plaintiff, Mary Jane Callahan, is a citizen of
Burlington, Massachusetts and the widow of John B.
Callahan.

26. The United States is a defendant herein pursuant to

the Federal Tort Claims Act, 28 U.S.C. §§ 1346 and 2671 et

11

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 12 of 110

seg. (“FTCA”), arising from the international and/or
negligent and/or other wrongful acts and/or omissions of
employees and agents of the Federal Bureau of Investigation
(“FBI”), an agency of the United States pursuant to 28
U.S.C. § 533 and 28 &U.S.C. § 2671 et seg., while such
agents and employees were acting within the scope of their
office or employment as law enforcement officers of the
United States government.

27. Defendant H. Paul Rico (“Rico”) is, on information and
belief, a resident of Florida. During the relevant times
alleged in this Complaint, Rico was acting within the scope
of his office or employment as a Special Agent of the FBI.
Rico is sued individually and in his (former) official
capacity.

28. Defendant John M. Morris (“Morris”) is, on information
and belief, a resident of Niceville, Florida. During the
relevant times alleged in this Complaint, Rico was acting
within the scope of his office or employment as a Special
Agent of the FBI. Rico is sued individually and in his
(former) official capacity.

29. From 1970 until in or bout December 1995, Morris was
an FBI Special Agent. From approximately March 1972 until
approximately November 1991, Morris was assigned to the

FBI’s Boston field office. For much of that time, Morris

12

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 13 of 110

was a supervisory special agent, and, between December 1977
and January 1983 was the direct supervisor of John J.
Connolly, Jr. on the FBI-Boston’s Organized Crim. Squad (“C
Squad”).

30. Defendant, John J. Connolly, Jr. (“Connolly”) is a
resident of Lynnfield, Massachusetts. During the relevant
times alleged in this Complaint, Connolly was acting in the
scope of his office or employment as a Special Agent of the
FBI. Connolly is sued individually and in his (former)
official capacity.

31. From November 1968 to December 1990, Connolly was a
Special Agent of the FBI. From February 1973 until his
retirement in December 1990, Connolly was assigned to the
Boston Office of the FBI.

32. Defendant Robert Fitzpatrick (“Fitzpatrick”) resides
in Rhode Island, at a location presently unknown. During
the relevant times alleged in this Complaint, Fitzpatrick
was acting within the scope of his office or employment as
a Supervisory Special Agent of the FBI. Fitzpatrick is
sued individually and in his (former) official capacity.
33. Defendant James Ring (“Ring”) is, on information and
belief, a resident of Boston, Massachusetts. During the
relevant times alleged in this Complaint, Ring was acting

within the scope of his office or employment as a special

13

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 14 of 110

agent of the FBI. Ring is sued individually and in his
(former) official capacity.

34. In or about January 1983, Ring became the supervisory
Special Agent of the Organized Crime Squad for the Boston
Office of the FBI. Ring retired from the FBI in or about
1990.

35. Defendant James Greenleaf (Greenleaf”) is, on
information and belief, a resident of Scarborough, Maine.
During the relevant times alleged in this Complaint,
Greenleaf was acting within the scope of his office or
employment as a Supervisory Special Agent of the FBI.
Greenleaf is sued individually and in his (former) official
capacity.

36. Greenleaf was the FBI Special Agent in charge of the
Boston Office commencing in November 1982. Greenleaf
served FBI-Boston in that capacity until December 1986.

37. Defendant James Ahearn (“Ahearn”) resides in a
location presently unknown. During certain times alleged
in this Complaint Ahearn was acting within the scope of his
office or employment as a Special Agent of the FBI. During
other relevant times alleged in the Complaint, Ahearn was
Special Agent in Charge of the Boston FBI Office. Ahearn

is sued individually and in his (former) official capacity.

14

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 15 of 110

38. Defendant James J. Bulger (“Bulger” a/k/a “Whitey”),
whereabouts currently unknown, is a life-long resident of
South Boston, Massachusetts. For all relevant periods
alleged in the Complaint, Bulger was a leader/organizer of
the Winter Hill Gang, a criminal enterprise that, for
decades in and around Boston, engaged in sustained,
significant criminal activity, including murder, drug
trafficking, bribery, extortion, loan sharking, and illegal
gambling (variously, the “Winter Hill Gang” or “Bulger
Group”).

39. FBI-Boston officially opened Bulger as a confidential
informant (“CI”) for the FBI in 1975; one year later, the
Agency elevated Bulger to Top Echelon Informant (“TE
Informant”) status.

40. As a consequence of a tip from Connolly, Bulger is now
a fugitive from justice. The United States has charged
Bulger, and others, with Racketeering Conspiracy for, among
others, the murder of John Callahan (United States v.
O’Neil, 99-CR-10371-RGS, Count One (Racketeering
Conspiracy) and Racketeering Act Number Sixteen (“Murder of
John Callahan”) (Superseding Indictment)).

41. Defendant Stephen J. Flemmi (“Flemmi”), former
resident of Boston, Massachusetts, and now in federal

custody, also was a member of the Winter Hill Gang. [In or

15

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 16 of 110

about September 1980, Connolly officially registered Flemmi
as a confidential informant for the FBI.

42. Flemmi has also been indicted for Racketeering
Conspiracy for, among others, the murder of John Callahan,

United States v. O’Neil, 99-10371-RGS, Count One

 

(Racketeering Conspiracy).

43. Defendant John V. Martorano (“Martorano”), a former
resident of Boston, Massachusetts and now in federal
custody, also was, at times relevant to this Complaint, a
member of the Winter Hill Gang.

44. John Does Nos. 1 through 50 are persons, presently
unknown to Plaintiffs, who violated Decedent’s and
Plaintiffs’ rights as guaranteed by the United States
Constitution and/or Massachusetts law and/or conspired with
others to do so, and otherwise bear responsibility for the
harms complained of herein. The John Does may be private
individuals, state officials or law enforcement officers of
one or more states and/or the United States Government who
acted in concert with the Federal Defendants, to deny
Decedent and Plaintiffs their respective rights as
guaranteed by the United States Constitution and under
Massachusetts law.

IIT. JURISDICTION AND VENUE

16

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 17 of 110

45. This case is brought to recover damages from the
Federal Defendants for harms cause while those Federal
Defendants were acting under color of law of the United
States of America, to wit, depriving Decedent and
Plaintiffs of their respective rights as guaranteed by the
United States Constitution.

46. Jurisdiction is grounded upon 28 U.S.C. § 1331,
because this case arises under the Constitution of the
United States,

47. This action also seeks recovery of damages under the
Federal Tort Claims Act, 28 U.SC. §2671, et seq., where the
intentional, negligent or otherwise wrongful acts or
omissions of certain employees of the United States, acting
within the scope of their office or employment, proximately
caused or substantially contributed to the harms complained
of herein, all under circumstances where the United States,
if a private person, would e liable to Plaintiffs in
accordance with the laws of the Commonwealth of
Massachusetts.

48. Jurisdiction is thus also grounded upon 28 U.S.C. §
1346, where the Complaint brings claims for relief under
the Federal Tort Claim Act, 28 U.S.C. § 2671, et seq.

(“FTCA”).

17

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 18 of 110

49, The jurisdiction of this Court is founded upon 28
U.S.C. § 1367, because the Complaint states causes of
action so related to claims falling within the original
jurisdiction of this Court such that these claims form part
of the same “case or controversy” as that term has meaning
under Article III of the United States Constitution.

50. On May 14, 2002, Plaintiffs, by and through counsel,
presented to FBI-Boston, their Administrative Claims for
Relief (the “Administrative Claims”), pursuant to the
Federal Tort Claims Act, 28 U.S.C. § 2671, et seq., 28
U.S.C. §2401, and 28 C.F.R. §14.1 et seq.

51. The United States has failed to make final disposition
of any of the foregoing Administrative Claims within six
months from the date the claims were presented. Plaintiffs
elect to treat these claims as having been “finally
denied.” 28 U.S.C. §2675.

52. Venue is proper in the District of Massachusetts under
28 U.S.C. §1391(b), where a substantial part of the events
or omissions giving rise to Plaintiffs’ claims occurred in
the District of Massachusetts.

Iv. THE ESTATE OF JOHN CALLAHAN

53. As alleged above, on August 2, 1982, in Miami,
Florida, and at the behest of Bulger and Flemmi, Martorano

ambushed and murdered John Callahan.

18

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 19 of 110

54. On or about November 3, 1982, the Probate Court of
Middlesex County, Massachusetts, McGovern, J., appointed
Mary J. Callahan Administratrix of the Estate of John
Callahan.

55, John Callahan was, at the time of his murder, a
resident of Winchester, Massachusetts, and thus a citizen
of the United States. Callahan was thus entitled to the
protection of the Constitution and the laws of the United
States of America.

56. At relevant times alleged herein, certain of the
Federal Defendants acted under color of the laws of the
United States of America, and/or were conspiring, as
alleged, with or otherwise acting in concert with, persons
who were acting under color of laws of the United States of
America.

57. Plaintiffs have no effective means of obtaining
relief from the many violations of Decedent’s rights, and
the Plaintiffs’ respective rights, secured to them under
the United States Constitution.

58. There are no special factors counseling hesitation
in this Court’s power to formulate remedies for Plaintiffs

and the Callahan Estate.

19

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 20 of 110

Vv. ALLEGATIONS OF FACT COMMON TO ALL COUNTS

A. The Federal Bureau of Investigation
59. The Federal Bureau of Investigation is, for purposes
of the FTCA, a “Federal agency.” 28 U.S.C. § 2671. more
particularly, the FBI is a federal law enforcement agency
statutorily empowered by the United States Congress to
investigate, enforce and prosecute violations of the United
States Criminal Code 28 U.S.C. §533.
60. The FBI is a constituent agency of the U.S. Department
of Justice and is subject to oversight and direction by the
Attorney General of the United States. The above enabling
statute affirmatively obligates the FBI to “transmit and
detection of federal crimes to the Department of Justice,”
and to “uphold the laws of the United States and prevent
the laws from being violated.”
61. Among the offenses that the FBI is empowered to
investigate are crimes involving racketeering (including
murder as an act of racketeering), 18 U.S.C. §1962, et
seq.; bribery, 18 U.S.C. §201; loan sharking, 18 U.S.C.
§891; gambling, 18 U.S.C. §1955; obstruction of justice, 18
U.S.C. §1501 et seq.; interference with commerce by threat,
18 U.S.C. §1951; tampering with a witness, victim or an
informant, 18 U.S.C. §1512; and retaliating against a

witness, victim or informant, 18 U.S.C. §1513.

20

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 21 of 110

62. Further, by way of mission statement, the FBI has
publicly articulated certain “core values” that “need to
preserved and defended by the FBI in performing its
statutory missions. Those values are: rigorous obedience
to the Constitution of the United States; respect for the
dignity of all those we protect; compassion; fairness; and
uncompromising personal and institutional integrity.”
63. The FBI mission statement further provides that
“{rjespect for the dignity of all whom we protect reminds
us to wield law enforcement powers with restraint and to
recognize the natural human tendency to be corrupted by
power and to become callous in its exercise. Fairness and
compassion ensure that we treat everyone with the highest
regard for the constitution, civil and human rights.
Personal and institutional integrity reinforce each other
and are owed to the nation in exchange for the sacred trust
and great authority conferred upon us.”

B. The Attorney General’s Guidelines and FBI Rules

and Regulations Governing Suitability, Use and
Handling of Informants

64. In 1976, former Attorney General of the United States
Edward H. Levi established guidelines relating to the FBI’s
handling of its informants. Those guidelines were part of
a larger effort by the Attorney General and others under

his direction and control, to establish standards and

21

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 22 of 110

procedures aimed at putting an end to years of serious
abuses, involving use of confidential informants, by the
FBI.

65. During relevant times in this Complaint, FBI Director
Clarence Kelley admitted that some of these FBI activities
had been “clearly wrong and quite indefensible.” Director
Kelly further declared that the Bureau should never again
occupy the “unique position that permitted improper
activity without accountability.”

66. On December 15, 1976, Attorney General Levi issued a
memorandum to the Director of the FBI that described basic
standards and procedures for the FBI’s use of informants in
Domestic Security, Organized Crime, and other criminal
investigations (the “Levi Memorandum”). On January 12,
1977, the Justice Department saw to it that the Levi
Memorandum was incorporated into the FBI “Manual of
Instructions” issued to all FBI agents (the “FBI Manual”).
67. The Levi Memorandum mandated that “special care be
taken not only to minimize [informants] use but also to
ensure that individual rights are not infringed and that
the government itself does not become a violator of the
law. Informants as such are not employees of the FBI, but
the special relationship of an informant to the FBI imposes

a special responsibility upon the FBI when the informant

 

22

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 23 of 110

engages in activity where he has received, or reasonably
thinks he has received encouragement or direction for that
activity from the FBI (emphasis supplied) .”

68. The Levi Memorandum further mandated that “[t]he FBI
may not use informants..for acts..which the FBI could not
authorize for its undercover agents.”

69. The FBI Manual in turn, mandated that “[u]nder no
circumstances shall the FBI take any action to conceal a
crime by one of its informants.” This directive was
regularly disregarded concerning Bulger and Flemmi.

70. Pursuant to the FBI Manual, if the Agency had reason
to believe that one of its informants had violated the law
in furtherance of providing assistance to the FBI, the FBI
would “ordinarily” promptly inform the appropriate law
enforcement or prosecutive authorities, and the FBI would
then decide whether the continued use of the informant was
justified.

71. «If there were exceptional circumstances that caused
the FBI to believe that such notification was
“inadvisable”, the FBI was nonetheless duty-bound, under
the Levi Memorandum, to inform the Department of Justice of
these facts and circumstances. The Department of Justice

would then decide whether law enforcement or prosecutive

23

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 24 of 110

authorities should be notified and whether the FBI should
continue to use the informant.

72. The Agency likewise routinely disregarded this
directive concerning Flemmi and Bulger.

73. The Levi Memorandum also established the same
procedures where the FBI had “knowledge” that one of its
informants had committed a “serious” crime “unconnected
with his FBI assignment.” The Agency also regularly
disregarded this directive, as concerned Flemmi and Bulger.
74. In 1981, the Department of Justice revised the
Guidelines, to clarify the rules in those circumstances
where there was a perceived need of FBI informants to
engage in criminal activities in order to obtain important
information. Under these Guidelines, “ordinary criminal
activity” was to be authorized by an FBI field office
supervisor or higher FBI official. “Extraordinary criminal
activity,” which included conduct involving a “significant
risk of violence,” was to be authorized only upon notice
to, and approval given by both the Special Agent in Charge
of the Field Office (“SAC”), and the United States
Attorney.

75. The Agency regularly disregarded this directive as

concerned Bulger and Flemmi.

24

 

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 25 of 110

c. The Insidious Relationship between Defendants
Rico and Flemmi

76. Beginning in the 1960s, the Bureau has made it
uniformly clear to its agents and supervisory agents, that
development of Top Echelon informants was a high priority.
FBI senior management routinely regarded, and made it known
to line agents and supervisory agents alike, successful
development of informants generally, and therefore Top
Echelon informants particularly, as an important
achievement for an FBI agent. The development of such an
informant had the potential to affect, both significantly
and positively, the progress of an agent’s career. The
Bureau made it clearly known that it as to the agent’s
benefit to develop Top Echelon informants.

77. In November 1965, (then) FBI Special Agent H. Paul
Rico was a member of FBI-Boston’s OC Squad. In that
capacity, Rico targeted Flemmi for development as a top
echelon informant ~ the highest status a source can achieve
in the FBI. At that time, a Top Echelon informant was
defined as an individual who “could provide a continuous
flow of quality criminal intelligence information regarding
the leaders of organized crime.”

78. Rico knew that FBI policies and procedures required

that all information received from informants had to be

25

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 26 of 110

recorded on an FBI Form 209. During all times alleged
herein, Rico failed and refused to conform to these
policies and procedures.

79. Rico sought to realize Flemmi’s potential as a source
of information by not treating him like a criminal who, in
turn, should be used with caution to obtain valuable
information. Rather, Rico suggested that he and Flemmi
were allies in a common cause, primarily a war against the
LCN.

80. Rico promised Flemmi that if he served as an FBI
informant, the FBI would protect him.

81. Flemmi was receptive to the alliance with the FBI that
Rico proposed. The arrangement offered him an opportunity
to use the FBI to disable his enemies, enhance his safety
and, with the competition diminished and the protection of
the FBI, make his own criminal activities more profitable.
82. Agents of the FBI, including Connolly and Morris,
engaged in a pattern of false statements being placed in
Flemmi’s informant file in order to divert attention from
his crimes and/or FBI misconduct.

83. On February 8 1967, Flemmi was designated as a Top
Echelon informant.

84. When designating Flemmi as a Top Echelon informant,

Rico wrote, with regard to Flemmi’s past activities that he

26

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 27 of 110

had “been engaged in bookmaking, shylocking, robberies, and
a suspect of possibly being involved in gangland slayings.”
85. Rico had an incentive not to document accurately or
completely information about Flemmi’s possible involvement
in serious crimes because he (Rico) believed that he might
lose the authority to utilize Flemmi as an informant, if
Rico’s Agency superiors decided that Flemmi deserved to be
targeted for continued criminal prosecution, rather than
used as a source.

86. Rico’s suspicions that Flemmi was a murderer did not
deter him and the FBI from making Flemmi a Top Echelon
informant and an ally in pursing their investigation of the
LCN.

87. In addition to promising “protection” Rico said, in
various ways, that Flemmi would not be prosecuted for
crimes he was committing while serving as an informant.

88. Rico caused Flemmi to understand that the FBI would
overlook Flemmi’s criminal activity as long as he was
providing information on the LCN.

89. Flemmi has since been indicted and charges are
pending, in which it is alleged that in addition to other
crimes in 1967, Flemmi participated in the murders of Wimpy
Bennett, his brothers, Walter and William Bennett, and

Richard Grasso. United States v. Flemmi, 94-10287-MLW,

 

27

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 28 of 110

Fourth Superseding Indictment. Flemmi has also been
indicted and charges are pending in which it is alleged
that in addition to other crimes, Flemmi participated in
the murders of Debra Davis, Thomas King, John McIntyre,
Arthur Barrett, Deborah Hussey, Richard Castucci, Roger
Wheeler, John Callahan, James Sousa and Edward Connors.

United States v. O'Neil, 99-CR-10371, Superseding

 

Indictment.

90. Although Rico and his FBI colleagues often worked
closely with State investigators and prosecutors in
organized crime matters, FBI~Boston did not contribute to
any investigation of Flemmi regarding the murders of the
Bennetts or Grasso.

91. On or about January 30, 1968, Attorney John Fitzgerald
was crippled, but not killed, by a bomb that exploded as he
started his car. At the time, Attorney Fitzgerald was
representing a witness who was providing information about
organized crime activities. The Middlesex County District
Attorney took primary responsibility for investigating the
Fitzgerald bombing. Neither Rico nor agents of the FBI
played any role or otherwise assisted in that
investigation.

92. In September 1969, Rico telephoned Flemmi and informed

him that “indictments were coming down” in the Fitzgerald

28

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 29 of 110

case and suggested that Flemmi and “his friend”, Salemme
“leave town” promptly. Flemmi followed Rico’s advice and
he and Salemme fled together.
93. A few days later, on September 11, 1969, Flemmi and
Salemme were indicted in Middlesex County for the
Fitzgerald bombing and in Suffolk County for the William
Bennett murder.
94. On September 15, 1969, Flemmi was closed
administratively as an informant of the FBI and a federal
fugitive warrant was issued for his arrest for his unlawful
flight to avoid prosecution for murder.
95. On September 15, 1969, Flemmi was closed
administratively as an informant of the FBI and a federal
fugitive warrant was issued for his arrest for his unlawful
flight to avoid prosecution for murder.

D. Flemmi as a Fugitive
96. While Flemmi was a fugitive from justice, allegedly
being pursued by the FBI, Flemmi stayed in contact with
Rico,
97. FBI policy required that all contacts with informants
be recorded. Rico made no effort to record his September
1969 Conversation with Flemmi, nor any other conversation

he had with Flemmi while Flemmi was a fugitive. Rico also

29

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 30 of 110

failed to tell the agents responsible for Flemmi’s
apprehension that Rico had spoken to him.

98. Unlike Flemmi, Salemme was arrested and prosecuted for
the Fitzgerald bombing. Salemme was convicted and, as a
result, spent the next 15 years in prison.

99. Following the trial and conviction of Salemme, Flemmi
called Rico at the Miami office of the FBI, where Rico was
then working. Rico told Flemmi that he should return to
Boston and his legal problems would be favorably resolved.
100. Rico assured Flemmi that when he returned to Boston,
he would be released on bail and all charges against him
would be dismissed.

101. As arranged by Rico, on May 6, 1974, Flemmi returned
to Boston and met in Park Square with two Boston
detectives. Despite the fact that for five years he had
been a fugitive from charges of murder and attempted
murder, Flemmi was promptly released on bail by the
Middlesex and Suffolk Superior Courts. The federal flight
charges were dismissed on the same day.

102. The Fitzgerald bombing charges against Flemmi were
subsequently dismissed and on November 13, 1974 the Bennett
murder charges concerning Flemmi were also dismissed.

Flemmi was a free man.

30

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 31 of 110

E. FBI-Boston Develops Bulger as an Informant
103. In 1972, Morris was transferred to the Boston Office
of the FBI and assigned to the Organized Crime squad.
104. In or about 1974, Connolly was transferred to the
Boston Office of the FBI and also assigned to the Organized
Crime squad.
105. Connolly had known Bulger since they were both
children growing up in South Boston.
106. On September 30, 1975, Bulger became a source for
Connolly and FBI-Boston administratively designated Bulger
as an FBI informant.
107. Bulger explained to the FBI that he became an
informant in part because he had “a close feeling towards
John Connolly because they both grew up in the same
neighborhood in Boston and had mutual childhood problems,
as well as a deep hatred for La Cosa Nostra.”
108. When Connolly sought Bulger’s cooperation as an
informant, the FBI knew that Bulger was deeply involved in
violent gang war, was extorting money from bookmakers, and
was widely regarded and known as being brutally violent.
109. On February 4, 1976, several months after being
officially designated an informant, FBI-Boston upgraded

Bulger to top Echelon Status.

31

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 32 of 110

F. The “Special Relationship:” FBI-Boston and
Bulger/Flemmi

110. At all times material to this Complaint, the “Winter
Hill Gang” or the “Bulger Group” was a clandestine criminal
enterprise that, in the course of more than two decades of
operation, generated millions in illegal revenue. The
enterprise did so through a membership of gang associates,
operatives and enforcers engaged, in turn, in crimes,
including murder, bribery, extortion, loan sharking, and
illegal gambling in the greater Boston area. All of these
crimes were subject to the jurisdictional authority of the
FBI.

111. During relevant times in this Complaint, FBI~Boston
was actively investigating the Boston branch of the LCN,
commonly referred to as the “Mafia”. The Mafia was a
nationwide clandestine criminal organization, whose crimes
were subject to the jurisdictional authority of the FBI.
The LCN was in direct criminal competition with the Winter
Hill Gang. In order to investigate the LCN, FBI-Boston
sought out and enlisted informants, to provide intelligence
and information about the LCN’s criminal activities.

112. Bulger and Flemmi were signed on as FBI informants and
agreed to cooperate with the FBI, to provide to its agents

certain information concerning the criminal activities of

32

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 33 of 110

the LCN. The FBI intended to prosecute and convict members
of the LCN using the information provided to it by Bulger
and Flemmi.

113. In or about September 1980, Connolly officially re-
registered Stephen Flemmi as a confidential informant for
the FBI. At all times material to this Complaint, Connolly
was the FBI agent contact (“handler”) assigned to receive
information from Bulger and Flemmi.

114. Special Agents of the FBI working out of the Boston
office, including Rico, Greenleaf, Ring, Morris, Connolly,
Fitzpatrick and Ahearn, knew that despite their informant
status with the FBI, Bulger and Flemmi were still engaged
in serious criminal wrongdoing throughout relevant times in
this Complaint.

115. Agents of the FBI, including Morris and Connolly, made
Bulger and Flemmi (who were previously acquainted, but not
close friends), a perfect match. In Boston, Flemmi and
Bulger uniquely shared an antipathy for the LCN, and the
desire to profit criminally from the LCN’s destruction and
from the promised protection of the FBI. In order to
protect Bulger and Flemmi as sources of information, agents
of the FBI, including Connolly, tipped Bulger and Flemmi to
various law enforcement initiatives in order to protect

their ongoing criminal activities. At all times relevant

33

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 34 of 110

to this case, agents of the FBI, in order to protect Bulger
and Flemmi from prosecution, and to further their criminal
activities, knowingly falsified official FBI documents
regarding Bulger’s and Flemmi’s participation in criminal
activities.

116. During times relevant to this case, in order to
protect Bulger and Flemmi from prosecution and to further
their criminal activities, agents of the FBI failed to
report Bulger and Flemmi’s ongoing criminal activities,
including crimes of violence, extortion, loan sharking and
illegal gambling.

117. During times relevant to this Complaint, agents of the
FBI, in order to protect Bulger and Flemmi, failed to
properly index information concerning the criminal
activities of Bulger and Flemmi and place that information
in the investigative files referencing their names.

118. At times material to this Complaint, agents of the
FBI, including Connolly and Morris, tipped Bulger and
Flemmi to the identity of individuals who were providing
criminal information against Bulger and Flemmi.

119. As a direct and natural consequence of the disclosures
of this sensitive law enforcement information, and as
Connolly and Morris knew or had reason to believe would be

the case, these individuals were murdered.

34

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 35 of 110

120. Agents of the FBI made insidious efforts to cultivate
in Bulger and Flemmi the sense that Bulger and Flemmi were
their friends, consultants, and allies, rather than
serious, hardened criminals who also happened to be
informants of criminal activity.

121. As the alliance between the FBI and Flemmi and Bulger
developed, Flemmi and Bulger were invited to dine
periodically with agents of the FBI engaged in
investigating the LCN, including Connolly, Morris and Ring.
These dinners were arranged to celebrate milestones in the
FBI’s relationship with Bulger and Flemmi, including the
successful wiretapping of the LCN’s Boston headquarters, as
well as the frustration of an investigation of Bulger and
Flemmi that had been conducted by the U.S. Drug Enforcement
Agency (the “DEA”) in 1984-85. At these dinners, the
agents, and Bulger and Flemmi exchanged gifts.

122. Following his retirement from the FBI in December
1990, Connolly maintained associations at the Boston field
office of the FBI in order, in part, to obtain law
enforcement information relative to the criminal activities
of Bulger, Flemmi and others.

123. After leaving the FBI, Connolly used the information

he gained from the FBI to alert and apprise Bulger and

35

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 36 of 110

Flemmi of law enforcement investigations into their
criminal activities.
124. During hearings held in the matter of United States of

America v. Francis P. Salemme, et al in the United States

 

District Court for the District of Massachusetts, the FBI
failed to timely produce to the defendants or the Court, as
the Court had specifically ordered, Agency documents
potentially damaging to the FBI and thus, the United
States.

125. On August 21, 2001, while sentencing Flemmi in

connection with United States v. Stephen J. Flemmi, CR. 94-

 

10287, the District Court (Wolf, J.) stated:

If Mr. Flemmi has committed any of the crimes
with which he remains charged, he was able to do so
largely because of the protection of the Federal
Bureau of Investigation. It is clear to me that Mr.
Flemmi would have either been killed or in prison,
like Frank Salemme, if Paul Rico had not, in 1969,
tipped him off and encouraged him to flee just
before Mr. Flemmi was indicted for the bombing of
John Fitzgerald and the murder of Walter Bennett.

All of the murders with which Mr. Flemmi is
charged in the pending cases against him occurred
after he was told by Rico in 1974, to return to
Boston and, as promised, the charges against him
were dismissed. I note that the first of the
alleged murders in the case before Judge Stearns
occurred in October, 1974, just months after Mr.
Flemmi returned.

Transcript of Sentencing Hearing, United
States v. Stephen J. Flemmi, Cr. 94-10287~
MLW.

 

36

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 37 of 110

G. Protecting their Prized Informants, FBI-Boston
Igneres and/or Negligently Fails to Acknowledge
a String of Bulger/Flemmi Murders, All Pre-
Dating the Bulger Group’s Murder of Roger
Wheeler.
126. By the time Bulger/Flemmi dispatched Martorano to
Florida, to rid themselves of John Callahan’s potential
cooperation in the investigation of the murder of Roger
Wheeler, agents of the FBI, including Morris, Connolly and
Fitzpatrick either knew or should known that Bulger and
Flemmi had a penchant for, and a long history of, gruesome
violence, including murder and attempted murder.
127. As previously alleged herein, in November 1965, Rico
Targeted Flemmi for development as a top echelon informant.
After Flemmi became an FBI informant Flemmi nonetheless
engaged repeatedly in the threatened and actual use of
violence, including assault, attempted murder and murder.
128. In or about January 1967 in the Commonwealth of
Massachusetts, Flemmi and others murdered Edward “Wimpy”
Bennett.
129. As alleged elsewhere in this Complaint, on February 8,
1967, FBI-Boston designated Flemmi a Top Echelon informant.

After having been so designated, and notwithstanding his

frequent contacts with FBI-Boston, Flemmi continued to be

37

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 38 of 110

repeatedly engaged in the threatened and actual use of
violence, including assault, attempted murder and murder.
130. In or about April 1967, in the Commonwealth of
Massachusetts, Flemmi and others murdered Walter Bennett.
131. On or about December 23, 1967, in the Commonwealth of
Massachusetts, Flemmi and others murdered William Bennett.
132. On or about December 23, 1967, in the Commonwealth of
Massachusetts, Flemmi and others murdered Richard Grasso.
133. From September 1969 to May 1974, Flemmi fled
Massachusetts and thus became a fugitive on charges of
murder and attempted murder. On May 6, 1974 and despite
these charges, Rico arranged for Flemmi to return to
Boston, free from fear of prosecution. Shortly after
Flemmi’s return the long-pending charges against him were
dismissed. Flemmi then resumed his role as an informant
providing information to the Boston office of the FBI.
134. On or about September 30, 1975, Bulger became a source
for Connolly; FBI-Boston thus administratively designated
Bulger to be an FBI informant.

135. On or about March 8, 1973 in the Commonwealth of
Massachusetts defendant Bulger and others murdered Michael

Milano.

38

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 39 of 110

136. On or about March 8, 1973 members and associates of
the Bulger Group including Bulger and others, shot Dianne
sussman.

137. On or about March 8, 1973 members and associates of
the Bulger Group including Bulger and others shot Louis
Lapiana.

138. On or about March 19, 1973 in the Commonwealth of
Massachusetts Bulger and others murdered Al Plummer.

139. On or about March 19, 1973 members and associates of
the Bulger Group including Bulger and others, shot Hugh
Shields.

140. On or about March 19, 1973 members and associates of
the Bulger Group including Bulger and others, shot Frank
Capizzi.

141. On or about March 24, 1973 in the Commonwealth of
Massachusetts Bulger and others murdered William O’Brien
142. On or about March 24, 1973 members and associates of
the Bulger Group including Bulger and others, shot Ralph
DiMasi,

143. On or about April 3, 1973 members and associates of
the Bulger Group including Bulger and others, murdered

James Leary.

39

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 40 of 110

144. On or about April 18, 1973 members and associates of
the Bulger Group including Bulger and others, murdered
Joseph Notorangeli.

145. On or about December 1, 1973, in the vicinity of
Dorchester, Massachusetts, Bulger and others murdered James
O’ Toole.

146. On or about February 21, 1974 members and associates
of the Bulger Group including Bulger and others, murdered
Al Notorangeli.

147, In or about October 1974, in the vicinity of
Somerville, Massachusetts, Bulger, Flemmi and others
murdered James Sousa, a criminal associate who had been
involved in a botched robbery with other members and
associates of the Bulger Group. Bulger and Fiemmi had
Sousa shot and killed after Sousa had been arrested and
charged in connection with that robbery because Bulger and
Flemmi considered him to be a potential witness against
members of the Bulger Group.

148. In or about November 1974, in the vicinity of South
Boston, Massachusetts, Bulger and others murdered Paul
McGonagle.

149, On or about June 12, 1975, in the vicinity of
Dorchester, Massachusetts, Bulger, Flemmi and other

murdered Edward Connors.

40

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 41 of 110

150. On or about November 5, 1975, in the Vicinity of South
Boston, Massachusetts, Bulger and Flemmi and others
murdered Thomas King.

151. On or about November 6, 1975, in the vicinity of South
Boston, Massachusetts, Bulger and others murdered Francis
“Buddy” Leonard.

152. In or about December 1976, Connolly tipped certain
confidential law enforcement information to members and
associates of the Bulger Group, that is, that Richard
Castucci was providing information to agents of the FBI
regarding the whereabouts of fugitives Joseph M. McDonald
and James L. Sims.

153. On or about December 30, 1976, in the vicinity of
Somerville, Massachusetts, Bulger and Flemmi and others
murdered Richard Castucci.

154. On or about April 4, 1980, Bulger and others murdered
Louis Latif.

155. On August 2, 1982, at the direction of Bulger and
Flemmi, John V. Martorano and Joseph MacDonald murdered
John B. Callahan in Miami, Florida.

H. FBI-Boston Forges the Bulger/Flemmi Criminal
partnership

156. As U.S. District Judge Wolf specifically found in U.S.

v. Salemme, et als (91 F.Supp.2d at 198), the FBI made

 

41

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 42 of 110

repeated efforts to cultivate in Bulger and Flemmi the
sense that Bulger and Flemmi were their friends,
consultants, and allies, rather than serious, hardened
criminals who were also informants of criminal activity.
157. In early 1975, Bulger asked Flemmi whether he would be
willing to meet with Connolly. Soon after, Flemmi met with
Connolly and Special Agent Condon at a coffee shop in
Newton, Massachusetts.

158. Following the Newton meeting with Connolly and Condon,
Flemmi began passing information about the LCN to Connolly,
through Bulger.

159. Connolly understood that Bulger and Flemmi were
dangerous, with serious propensities to crimes of violence,
including murder, and criminal histories to match. As
Connolly has explained: “[W]le knew what these guys were,
They did not have a paper route when we first met them.

All of them, top echelon informants, are murderers. The
government put me in business with murderers.”

160. Connolly routinely protected himself, Flemmi, Bulger,
and the reputation of the FBI by furnishing Bulger and
Flemmi information that might help them avoid arrest and
prosecution.

161. From approximately 1976 through 1994, Connolly, and

Morris received gifts from both Flemmi and Bulger.

42

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 43 of 110

162. From approximately 1976 through 1994, Connolly
provided Bulger and Flemmi sensitive and confidential law
enforcement information designed to protect the criminal
activities of Bulger, Flemmi, and at times, their criminal
associates.

163. From at least 1976 through December 1990, Connolly,
while he served as a special agent of the FBI, using
confidential information that he had received from Morris
and from other FBI and law enforcement sources, ripped
Bulger and Flemmi to various law enforcement initiatives in
order to protect their ongoing criminal activities.

164, From at least 1976 through December 1990, Connolly,
while he served as a special agent of the FBI, using
confidential information that he received from FBI and
other law enforcement sources, alerted Bulger and Flemmi to
the identity of confidential law enforcement informants in
order to protect Bulger’s and Flemmi’s ongoing criminal
activities.

165. As the alliance between the FBI and Flemmi and Bulger
developed, Flemmi and Bulger were invited periodically, to
dine with agents of the FBI engaged in investigating the
LCN, including Connolly and Morris. These dinners were
arranged to celebrate milestones in the FBI’s relationship

with Bulger and Flemmi, including the successful (1980)

43

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 44 of 110

wiretapping of the LCN’s (Prince Street) Boston
headquarters. At these dinners, the agents on the one
hand, and Bulger and Flemmi on the other, exchanged gifts.
166. From at least 1976 until his retirement from the FBI
in December 1990, in order to protect Bulger and Flemmi
from prosecution and to further their criminal activities,
Connolly, in knowing and willful violation of his
responsibilities as an FBI agent, endeavored to preserve
Bulger’s and Flemmi’s status as confidential informants by
failing to report information relating to Bulger and Flemmi
which was material to the investigation of criminal
activity in the Boston area.

167. Supervisory Special Agents of FBI-Boston failed to
provide seminars or major training for the benefit of line
Agents concerning reach and application of the Guidelines.
Morris did not read the new informant Guidelines when they
were issued. The Guidelines were discussed occasionally in
more general training sessions, but the FBI-Boston
Organized Crime supervisors did not get answers to any
questions that they had; Line agents of FBI-Boston were not
properly trained in the Guidelines, generally.

168. In violation of the Guidelines, Morris and Ring viewed

the Guidelines as inconsistent with the Top Echelon

informant program. Thus, in violation of the mandates of

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 45 of 110

the Guidelines, Morris and Ring decided that the Guidelines
did not and would not apply to Organized Crime matters
despite their knowledge of the long history of serious acts
of violence committed by Bulger and Flemmi, whom they also
knew to be FBI informants.

169. Morris and Ring ignored and violated the provisions of
the Attorney General Guidelines that required authorization
of criminal activity and reporting of unauthorized crime
committed by informants.

170. Greenleaf failed to enforce or apply the Guidelines to
the Organized Crime Squad despite an apparent history of
violence committed by Bulger and Flemmi whom Greenleaf knew
to be confidential informants.

i771. FBI headquarters in Washington, D.C. failed to
effectively supervise the implementation of the Guidelines.
While FBI headquarters periodically audited the Boston
office’s informant files, no deficiencies with regard to
the handling of Bulger or Flemmi were noted, despite the
fact that those files were replete with information
indicating that Bulger and Flemmi had been and were
involved in serious criminal activity that had not been
authorized in writing, had not been investigated by the
FBI, had not been reported to other law enforcement

agencies, and had not been reported to the Assistant

45

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 46 of 110

Attorney General for the Criminal Division as required by
the Guidelines. While representatives of FBI headquarters
engaged in this audit, these representatives uncovered no
information or deficiencies that suggested that Bulger or
Flemmi were involved with the murders of Castucci, Halloran
Callahan or McIntyre.

172. With regard to FBI-Boston’s Top Echelon informants
(Bulger and Flemmi), Greenleaf, Ring, Morris, Connolly,
Fitzpatrick and Ahearn disregarded the carefully calibrated
standards and procedures that had been developed by
Attorney General Levi and his successors.

173. While SAC, Greenleaf had delegated the responsibility
for recommending the opening and closing of informants to
the agent who was the informant’s handler. The handler,
acting in concern with his supervisor, was also given
responsibility for any review of the informant’s status.
174. While SAC, Greenleaf knew that Bulger was an FBI
informant. Greenleaf also knew that although Flemmi may
have been technically closed as an informant, he was
nonetheless regularly providing information to the FBI.
175. Greenleaf was also aware that Connolly was the handler
for both Bulger and Flemmi. Greenleaf generally relied on
Connolly and his supervisor, James Ring, to deal with

Bulger and Flemmi, and with any matters relating to them.

46

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 47 of 110

176. As set forth above, during this relevant time, the
Attorney General’s guidelines, which had been incorporated
in the FBI’s Manual, required that the SAC himself make
certain decisions, after consultation with the United
States Attorney, whether to authorize extraordinary
criminal activity involving a “serious risk of violence,”
and review all such criminal activity, at least every 90
days.

177. Greenleaf violated this duty; rather than undertake
these duties and responsibilities himself, Greenleaf
improperly delegated these responsibilities to Connolly and
Morris.

178. The Attorney General’s Guidelines, which were
incorporated in the FBI Manual, required a special review
process if an FBI field office wanted to keep an informant
open after it learned that he had participated in a serious
act of violence or any other serious crime.

179, When Ring became head of the Organized Crime Squad,
Morris suggested that Ring terminate Bulger and Flemmi as
sources because they “had outlived their usefulness.”

180. Ring did not seek to have Bulger closed as an
informant. Rather, on February 23, 1983, he approved a
memorandum captioned as coming from Greenleaf, prepared by

Connelly, to FBI Headquarters recommending that Bulger be

47

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 48 of 110

elevated to Top Echelon informant status. The memorandum
characterized Bulger as “one of the most highly placed and
valuable informants in the Boston Division.”

181. On May 26, 1983, Connolly wrote a memorandum to Ring
requesting a determination of whether Flemmi would
imminently be indicted as a result of the Wheeler-Callahan
murder investigations or in the case arising from
electronic surveillance at 98 Prince Street. Connolly based
his request on the fact that Flemmi “continues to
voluntarily furnish sensitive information of an extremely
high quality.”

i82. During Ring and Connolly’s tenure at the FBI, Flemmi
was never indicted for his role in the Wheeler or Callahan
murders or for the case arising from electronic
surveillance at 98 Prince Street.

183. By the fall of 1983, Ring had met Bulger and Flemmi
twice. The first time Ring went with Connolly to Bulger’s
apartment. The second meeting involved a dinner that
Connolly arranged at Flemmi’s parents’ home.

184. Ring used these occasions, in part, to observe and
evaluate Connolly’s interaction with Bulger and Flemmi.
Ring did not like what he saw. Instead, Ring believed that
Connolly was treating Bulger and Flemmi like “friends” or

“consultants” rather than as informants.

48

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 49 of 110

185. For example, Connolly was giving Bulger and Flemmi
information and asked Ring to do the same.

186. Despite his concerns - expressed Connolly - about the
manner in which Connolly was treating Bulger and Flemmi,
Ring did not discipline Connolly or alter Connolly’s
responsibilities concerning Bulger and Flemmi.

Furthermore, contravening Ring’s usual practice and in
violation of the FBI Manual, no Form 209 exists relating to
the meeting Ring attended at Flemmi’s parents’ home, nor is
there any record of Ring’s admonitions to Connolly in this
regard.

187. In 1983 and 1984, Ring knew that Bulger and Flemmi
were engaged in “a whole host of criminal activities,”
Indeed, Ring expected them to be involved in criminal
activities.

188. Ring did not provide FBI Headquarters updated
information on Bulger and Flemmi’s criminal activities.
189. Ring believed that the Attorney General Guidelines’
process for providing authorization to an informant to
commit crimes was not feasible for Organized Crime
informants. Morris told Ring that seeking authorization
for criminal activity of Organized Crime informants was not

“worth the aggravation.” Ring agreed and the Guidelines

49

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 50 of 110

were ignored by Greenleaf, Ring and their subordinates
including Morris and Connolly.

190. When members of the FBI received reliable information
about criminal activity in which Bulger and Flemmi were
engaged, they regularly consulted Connolly and then did not
pursue any investigation.

191. Assistant United States Attorney James Herbert and the
United States Attorney Donald Stern admitted the Attorney
General’s Informant Guidelines were not obeyed, at least
with regard to Flemmi. As Assistant United States Attorney
James Herbert stated:

We don’t dispute..the Court’s conclusion that the
theory behind the Guidelines and the FBI’s policies and
procedures was to remove from the line agent the
responsibility and the authority to make difficult
decisions with respect to criminal informants..that is what
they were designed to do and I don’t think they were
followed in connection with Mr. Bulger and Mr. Flemmi in
the manner they were designed to.

United States Attorney Donald Stern likewise stated:

The FBI and attorney general informant guidelines,
together with FBI administrative controls, are intended to
provide the necessary checks and balances and to ensure
that often difficult decisions are made to the appropriate
level, based on complete and accurate information. While
admittedly no system is foolproof, clearly those objectives
were not met here, at least in certain critical respects.
192. As alleged above, in the years prior to the Callahan

murder, Bulger and Flemmi, separately and jointly,

committed nearly two dozen murders and countless other

50

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 51 of 110

violent criminal acts, all in the Greater Boston area, and
thus under the nose of FBI-Boston. In the Agency’s dogged
institutional pursuit of LCN-Boston, however, this wave of
violence generated little or no interest within FBI-Boston.
The net effect of the FBI's efforts, from the perspective
of the Winter Hill Gang and as FBI-Boston well knew, was to
embolden the Gang and its members, to commit criminal acts,
including acts of violence, with a sense of impunity. They
would not be investigated; they would not be prosecuted.
Indeed, they would be rewarded with confidential law
enforcement information, such as how to avoid investigative
measures targeting them, and the identities of those
seeking to cooperate with law enforcement against them.
193. Amongst its wrongful actions and omissions, the
Federal Defendants also affirmatively misrepresented and
otherwise purposely concealed from Plaintiffs over the
years, those (wrongful and thus non-privileged) facts and
circumstances underlying and surrounding the foregoing
illicit (“special”) relationship between FBI-Boston and
Bulger/Flemmi. The facts and circumstances so concealed,
and only more recently wrested from the FBI, form the bases
of the instant claims for legal damages and equitable

relief.

51

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 52 of 110

194. The extraordinary lengths to which the FBI would go to
protect its “Top Echelon” informants, and the corresponding
growing sense of impunity enjoyed by the Winter Hill Gang,
are illustrated and borne out by the following:

I. The Murder of Richard Castucci: A History of
Removing the Threat

195. On or about July 31, 1975, Joseph McDonald and James
Sims, both members of the Winter Hill Gang, were charged
with crimes in a federal indictment in the District of
Massachusetts. McDonald and Sims became fugitives from
those charges.

196. In 1976, Richard Castucci was a nightclub owner and
bookmaker who associated with the Winter Hill Gang. At the
behest of the Winter Hill Gang, Castucci subsequently
assisted McDonald and Sims in obtaining an apartment in the
Greenwich Village section of New York City while they
remained fugitives.

197. During that time, Castucci also was a confidential
informant of the FBI. In the later part of 1976, Castucci
began to provide the FBI with specific information
regarding the whereabouts of McDonald and Sims.

198. In late 1976, Connolly provided otherwise confidential

law enforcement information to Bulger, which alerted him to

52

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 53 of 110

the fact that Castucci was a confidential informant of the
FBI,

199, On or about December 29, 1976, as a result of being
informed of Castucci’s relationship with the FBI, members
of the Winter Hill Gang, including Bulger and Flemmi,
murdered Richard Castucci.

J. The Race~-Fix Case: FBI-Boston Protects
Bulger/Flemmi

200. On January 27, 1978, Bulger was closed
administratively as an informant because he was a primary
subject of an investigation that focused on the payment of
bribes to fix horse races. An informant is closed once he
becomes a primary subject of a criminal investigation.

201. Bulger and Connolly discussed the prospect that Bulger
and Flemmi would be indicted in the race-fix case. Neither
the FBI, nor Bulger nor Flemmi wanted them to be charged.
Bulger and Flemmi did not want to be charged because they
did not wish to go to jail and lose their liberty. The FBI
did not want Flemmi and Bulger to be charged because it
would lose Flemmi and Bulger’s services as informants.

202. The United States Attorney’s Office for the District
Massachusetts was preparing indictments for the race-fix

case.

353

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 54 of 110

203. Morris and Connolly asked the prosecutor not to indict
Bulger and Flemmi in the race-fix case. Morris and
Connolly were successful, and Bulger and Flemmi were not
included in the indictment.

204. A RICO indictment relating to the race-fix scheme was
returned against 13 defendants and after a 46 day trial,
all of the defendants who had not pled guilty or fled were
convicted.

205. In May 1979, the FBI in Boston requested and received
from the Director of the FBI, approval to reopen Bulger as
an informant. When reopening Bulger, the FBI informed the
Director that “no prosecutable case developed against
[Bulger] in the opinion of the Strike Force Attorney
handling the matter.” This statement was false. Bulger
and Flemmi were not prosecuted in the race-fix case because
Connolly and Morris had persuaded federal prosecutors that
their value as informants outweighed the importance of
prosecuting them,

206. At the time the FBI officially reopened Bulger as an
informant, Connolly and Morris were well aware that Bulger
and Flemmi remained involved in a range of criminal
activity. Nevertheless, the FBI neither investigated nor
disclosed such information to any other law enforcement

agency.

34

 

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 55 of 110

207. In July 1979, Morris received reports from informants
that Bulger and Flemmi were “shaking down” independent
bookmakers. The FBI made no effort to investigate this
matter.
208. In 1979 and early 1980, the FBI received information
from informants that Bulger and Flemmi were involved in
other criminal activity, including illegal gambling and
trafficking in cocaine. These allegations were not
investigated.
K. The Lancaster Street Garage Investigation: FBI-Boston
Confirms A Tip to Bulger
209. In 1980, the FBI, through its agents, as set forth
below, contributed to frustrating a Massachusetts State
Police investigation of criminal activity of Bulger, Flemmi
and others occurring at the Lancaster Street Garage.
210. The Massachusetts State Police had determined that
“virtually every organized crime figure in the metropolitan
area of Boston, including both LCN and non-LCN (Winter
Hill) organized crime figures frequented the premises” at
the Lancaster Street Garage. Flemmi and Bulger were among
those targeted by the Massachusetts State Police.
211. The Massachusetts State Police were concerned that the
FBI not be told about the investigation and proposed

electronic surveillance because it believed that Flemmi and

55

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 56 of 110

Bulger were informants, working with Morris, who might
compromise the investigation if he knew about it.

212. Without the direct participation of the FBI, the
Massachusetts State Police installed a microphone in the
Lancaster Street Garage on or about July 24, 1980. For
approximately two weeks, the investigation was “extremely
productive.” However, it then became apparent to the
Massachusetts State Police that the targets of the
investigation had been tipped off concerning the electronic
surveillance.

213. Flemmi initially received information about the State
Police’s electronic surveillance from a Massachusetts State
Police Trooper. Connolly confirmed for Bulger and Flemmi
that the Lancaster Street Garage was bugged by law
enforcement. Flemmi and Bulger advised some of their
associates of the bugging operation. The discussion of
criminal activity at the Lancaster Street Garage ceased.

L. The 98 Prince Street Investigation. Bulger and Flemmi
Use FBI-Boston to Rid Themselves of Their “Competitors.”

214. In October 1980, Morris and Connolly gave Bulger and
Flemmi the assignment to provide information that would

allow for the bugging of the LCN headquarters.

56

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 57 of 110

215. On January 9, 1981, the government applied for and
received a warrant to bug 98 Prince Street, the
headquarters of the LCN.

216. Bulger and Flemmi, in violation of FBI rules and
regulations, were told when the bug had been installed in
January 1981 and when it was removed in April.

217. In January 1981, Flemmi, Bulger, Connolly and Morris
gathered in Morris’ home in Lexington, Massachusetts for a
belated Christmas celebration. Bulger and Flemmi brought
wine and a champagne bucket for Morris. Morris
reciprocated by giving Flemmi, a Korean war veteran, a
painting from Korea.

218. On November 25, 1980, Special Agent Lawrence Sarhart
met with Bulger as part of his efforts to determine whether
the FBI had compromised the Massachusetts State Police
Lancaster Street Garage investigation and whether Bulger
and Flemmi should be continued as informants. At this
meeting, Bulger falsely claimed that he had not been given
any information about the Lancaster Street Garage
investigation by the FBI. In providing this false
information, Bulger was protecting Connolly.

219. In or about March 1981, defendant Fitzpatrick met with
Bulger to re-evaluate whether he should continue as an

informant. Fitzpatrick had concerns that Bulger and Flemmi

37

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 58 of 110

were engaged in serious criminal conduct, including crimes
of violence in collecting “tribute” from drug traffickers.
There is no written record indicating that Fitzpatrick ever
expressed such concerns to his supervisor.

220. Fitzpatrick reviewed and initialed a memorandum
prepared by Connolly and Morris seeking to continue Bulger
and Flemmi as informants without dissent.

221. In or about April or May 1981, Morris met with Bulger
and Flemmi at the Hotel Colonade, at which time the three
drank wine, with Morris drinking so much that Bulger had to
drive him home.

222. In the fall of 1983, Connolly and Morris had dinner
with Bulger and Flemmi at Flemmi’s parent’s home in South
Boston. This meeting was a celebration of the government ’s
return of indictments against members of the LCN.

M. The Bulger Group Murders Callahan

223. In the Summer of 1982, John Martarano learned from
Flemmi that the FBI would be putting pressure on John
Callahan to assist tin the investigation of the Wheeler
murder. It was agreed that Callahan would be killed.

224. At that time, the Bulger group were getting a lot of
heat relative to the murder of Brian Halloran. Ags such,
the Bulger group decided that they would kill Callahan in

Florida and make the murder appear to be robbery related.

38

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 59 of 110

226. In September of 1999, Judge Wolfe concluded in United
States v. Salemme that the murder of John Callahan remained
unsolved.

227. In March of 2001, pursuant to a plea agreement, John
Martarano pleaded guilty to murdering John Callahan in
August of 1982,

N. To Protect the FBI (and Themselves) From the Adverse
Consequences of Exposure of Its “Special Relationship,”
FBI-Boston Engages in a “Conspiracy of Silence.”

228. The FBI in Oklahoma City needed to explore Callahan's
relationship with Halloran, as part of its investigation of
Bulger and Flemmi. The FBI's Boston organized crime squad
opened an investigation to support Oklahoma City’s effort
to solve the Wheeler murder.

229. In 1981, at Morris’ request, Connolly interviewed
Callahan as part of the investigation. The Boston
investigation was then quickly closed.

230. In January 1982, Halloran, who was facing a state
murder charge, began to cooperate with the FBI in Boston.
Among other things, Halloran told Special Agents Leo
Brunnick and Gerald Montanari, two members of the Boston's
FBI’s Labor and Racketeering Squad, that he met Bulger and
Flemmi at Callahan’s apartment and was asked if he was
willing to murder Wheeler. Halloran told Brunnick and

Montanari that Bulger and Flemmi along with John Callahan

59

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 60 of 110

and John Martorano had caused Wheeler to be murdered.
Brunnick consulted Morris, as the supervisor of the
organized crime squad to get his assessment of Halloran’s
reliability as a potential witness. Brunnick told Morris
about Halloran’s allegations concerning Bulger and Flemmi.
Morris realized that Halloran's allegations threatened
their future as FBI informants, among other things, because
it was FBI policy to close sources that it was
investigating.

231. Morris and Connolly did not want to lose, as
informants, Flemmi and Bulger, who were important to their
investigations and to their own status and future careers
in the FBI. Morris told Brunnick that Halloran was
untrustworthy and unstable and would not be a believable
witness.

232. The FBI in Oklahoma City expressed an interest in
interviewing Halloran regarding the Wheeler murder. The
FBI agents in Boston failed to inform the Oklahoma City
agents of Halloran’s allegations against Flemmi and Bulger.
233. Halloran knew that his willingness to cooperate with
the FBI, if disclosed, would place his life in danger. He

therefore requested to be in the witness protection

program.

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 61 of 110

234. Morris told Connolly that Halloran was speaking with
other agents and providing information about Bulger and
Flemmi. Morris told Connolly that Halloran had implicated
Bulger and Flemmi in the Wheeler homicide.

235. In or about May 1982, Connolly told Bulger and Flemmi
that Brian Halloran was providing information to agents of
the Federal Bureau of Investigation regarding, among other
things, the involvement of Bulger, Flemmi and Martorano in
the Tulsa, Oklahoma murder of Roger Wheeler. Bulger Group
members and associates also learned that Brian Halloran was
providing information to agents of the Federal Bureau of
Investigation regarding the involvement of Bulger and
others in the 1980 murder of Louis Latif.

236. In early May 1982, the FBI denied Halloran’s request
to be placed in the witness protection program and told
Halloran that his relationship with the FBI was terminated.
237. On or about May 11, 1982, in the vicinity of Northern
Avenue, South Boston, Massachusetts, Bulger, Kevin Weeks
and others murdered Brian Halloran and Michael Donahue;
Donahue was a mere bystander, having only accepted
Halloran's offer of a ride in an automobile with Halloran
-at the time Halloran was murdered.

238. Bulger, and others under Bulger’s direction and

control, murdered Halloran to prevent Halloran’s further

61

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 62 of 110

cooperation with law enforcement authorities and to prevent
his testimony before a federal grand jury investigating the
murder of Roger Wheeler.

239. Morris believed that Bulger and Flemmi were
responsible for Halloran’s murder, yet failed to undertake
any steps to investigate Halloran’s death. The next time
that Morris asked Connolly to tip Flemmi off to an
investigation, he added that he “did not want another
Halloran” - meaning, another murder.

240. Following Halloran’s murder, the FBI met with
Halloran’s wife, gave her $1,000 and left. From that time
and date until 2000, Mrs. Halloran heard nothing from the
FBI concerning the investigation of her husband's murder.
241. Morris knew that Connolly’s tipping Bulger and Flemmi
about Halloran’s effort to cooperate with the FBI would be
relevant to any investigation of Halloran’s murder, but he
never provided this information to anyone in the FBI.
Morris also did not tell the Suffolk County District
Attorney's Office, which, as Morris knew, conducted an
investigation in this matter.

242. Morris, Connolly and others at FBI-Boston failed to
comply with the Attorney General guidelines concerning the

disclosure of information regarding Bulger and Flemmi’s

62

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 63 of 110

possible involvement with Halloran’s murder to local law
enforcement authorities in Boston or Oklahoma.

243. The Halloran murder presented a dilemma for the FBI.
It precipitated a May 25, 1982 meeting at FBI Headquarters
to grapple with Bulger and Flemmi’s dual status as valuable
FBI informants and also suspects in the investigations of
the Wheeler and Halloran murders. Representatives of the
FBI offices in Boston, Oklahoma City, and Miami met with
FBI Headquarters officials, including Sean McWeeney, Chief
of the Organized Crime Section, and Jeff Jamor, the
Informant Coordinator.

244. As a result of this meeting, a decision was made to
keep Bulger and Flemmi open as sources unless and until
“substantiated information” implicating them in the murders
was received.

245. In or about June 1982, Connolly told Bulger and Flemmi
that investigative efforts relating to the murder of Roger
Wheeler were being directed toward John B. Callahan, former
president of World Jai Alai.

246. Concerned that Callahan might implicate Bulger and
Flemmi in the Wheeler murder, and to prevent his
cooperating with law enforcement authorities and providing

testimony in the Wheeler homicide investigation, Bulger and

63

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 64 of 110

Flemmi combined and agreed with Martorano that Martorano
should travel to Florida to murder Callahan.

247. On or about August 1, 1982, Callahan was murdered;
some days later, Callahan's body was discovered in the
trunk of an automobile, in the long-term parking lot of the
Miami International Airport.

248. On September 23, 1982, Flemmi was administratively
closed as an informant. Connolly and Morris told FBI
Headquarters that they were closing Flemmi because he was
being targeted for possible prosecution in other
investigations. This statement was a lie.

249. In April 1983, the FBI in Oklahoma City sought
authority from the Director of the FBI to interview Bulger
and Flemmi. Defendant Fitzpatrick strongly and
successfully opposed this request. In doing so,
Fitzpatrick claimed that he had interviewed Bulger
concerning the Wheeler and Callahan murders, and that
Bulger had denied being involved.

250. This was a lie: Fitzpatrick never questioned Bulger
on these subjects.

251. Fitzpatrick did not trust Connolly fully, but also
argued that Oklahoma City should not be allowed to
interview Bulger and Flemmi in part because Connolly was in

continual contact with them and was disseminating all

64

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 65 of 110

relevant information that he received regarding the Wheeler
and Callahan murders. Fitzpatrick and others in the Boston
Office of the FBI were determined to control the
information, and therefore the decisions to be made
concerning Bulger and Flemmi.

252. Fitzpatrick knew or should have known that Connolly
was in violation of the Attorney General Guidelines
regarding Bulger and Flemmi, and, on information and
belief, he made no effort to verify that Connolly was
properly disseminating the relevant and necessary
information regarding the Callahan-Wheeler murders, after
preventing Oklahoma authorities from interviewing Bulger
and Flemmi.

253. Although Fitzpatrick and others were successful in
preventing the interview of Bulger and Flemmi by agents
outside of Boston, Bulger and Flemmi were interviewed
together by Montanari and Agent Brendan Cleary.

254. It is highly unusual for two subjects of an
investigation to be interviewed together. Bulger and
Flemmi, not surprisingly, denied any involvement in the
Wheeler and Callahan murders. Bulger and Flemmi refused to
take a polygraph examination and objected to being

photographed. No photographs of Bulger and Flemmi from

65

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 66 of 110

this interview were produced in discovery or introduced as
evidence in the Salemme matter.

255. In early 1988, Joseph Murray, who was then in federal
prison, alleged, among other things, that Bulger and Pat
Nee had murdered Halloran and Bucky Barrett. Murray stated
that there was an eyewitness to the Halloran shooting who
might come forward, and elaborated that “There is a person
named John, who claims he talked to Whitey and Nee as they
sat in the car waiting for Halloran on Northern Avenue. He
sits in a bar and talks about it. He saw the whole
operation.” Murray added that the person providing the
information to him “will be willing to talk to you
(authorities) soon.”

256. Murray also alleged that Connolly and Special Agent
John Newton were selling information to Bulger and Flemmi
concerning electronic surveillance.

257. Murray's information was provided to William Weld, who
was then Assistant Attorney General for the Criminal
Division, for the Department of Justice in Washington, D.C.
On February 3, 1988, Weld directed that the information be
forwarded to the United States Attorney in Boston and to
the Chief of its Strike Force.

258. The FBI assumed responsibility for investigating

Murray’s charges.

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 67 of 110

259. In June 1989, AASAC Dennis O’Callahan assigned FBI
Agent Edward Clark, the Supervisor of the Bank Robbery
Squad, to interview Murray. Also assigned was Edward
Quinn, a member of the organized crime squad who had then
worked with Connolly for 13 years and characterized
Connolly as a “close friend.”

260. Clark and Quinn spoke to Murray at the Strike Force's
office in the Federal Courthouse in Boston on June 14 1989
- more than a year and a half after the initial call to
Weld.

261. The Clark interview notes make no reference that
Murray was asked questions concerning his allegations
regarding Connolly and Newton's sale of information to
Bulger and Flemmi. Either Murray was not asked about his
allegations concerning Connolly and Newton or the
information that he provided concerning them was not
recorded. Similarly, although Murray reiterated that
Bulger and Nee had murdered Halloran, neither Clark nor
Quinn asked him about the individual named “John” who
Murray as previously asserted witnessed the killing.

262. Although Murray provided information linking Bulger
and Flemmi to the Halloran and Barrett murders, Clark was
not asked to engage in any further investigation and two

months later ASAC O'Callahan prepared a memorandum that was

67

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 68 of 110

forwarded to the Director of the FBI reporting that Murray
had been interviewed and the “[t]he allegations that SA
Connolly and SA Newton are disclosing information regarding
investigations being conducted by this division to criminal
elements are unsubstantiated by specific facts...” The
administrative inquiry was then terminated in Boston and,
it appears, none of the FBI Headquarters, the United States
Attorney's Office, the Strike Force or the Department of
Justice pursued the matter.

263. Furthermore, the information that Murray provided
implicating Bulger and Flemmi in the Halloran and Barrett
matters was not provided to any agents responsible for
investigating those matters or indexed so that it could be
accessed by such agents, all in violation of FBI guidelines
and rules.

264. Similarly, although Clark felt Murray would make a
“terrific” informant, there is no evidence that any effort
was made by the FBI agents in Boston to utilize him as a
source despite his demonstrated willingness to provide
information. Murray was effectively eliminated as a threat
to the relationship between the FBI and Bulger and Flemmi.

O. Improper Indexing of Information Regarding the
Murders of Wheeler, Halloran and Callahan.

68

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 69 of 110

265. The FBI in Boston violated Bureau rules and
regulations by rendering the information it had received
from Halloran regarding Bulger and Flemmi virtually
inaccessible to others who might wish to review or evaluate
it.

266. More specifically, in 1982 and 1983, FBI reports
containing allegations against an individual were to be
indexed by that individual's name and placed in the
investigative file. With one exception, the many reports
containing Halloran’s charges against Bulger and Flemmi
were not properly indexed with the reference to their
names. Thus, during a Department of Justice investigation
in July of 1997, these documents were not found or
considered.

267. When a federal judge ordered that the government look
for the documents, FBI-Boston found them. Nevertheless,
these documents were not promptly produced to the court,
thus preventing the examination of Rico and Morris
concerning their contents.

268. As a result of the delayed disclosure of the Halloran
documents and of the failure of the adversary system to
operate fully and effectively on this issue, the FBI
thwarted the efforts of the Federal District Court to

determine what roles, if any were played by Flemmi and

69

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 70 of 110

Bulger in the Wheeler, Halloran, and Callahan murders, and
the full degree to which FBI-Boston, from 1981 until at
least September 15, 1999, attempted to keep any such role
from being discerned an brought forward.

269. In July 2000, the United States finally brought
charges against individuals involved in Halloran’s murder.
In July 2000, defendant Weeks pleaded guilty, in part, to
aiding and abetting in Halloran’s murder. In September
2000, Bulger and Flemmi were indicted by a federal grand
jury, in part, for Bulger’s involvement in the murders of
Wheeler, Halloran and Callahan and Flemmi’s involvement in
the murders of Wheeler and Halloran. In October 2000, a
Superseding Indictment was brought against Connolly, in
part, for providing confidential law enforcement
information to Bulger and Flemmi which alerted them to the
fact that Halloran had provided information about the
murder of Wheeler and that Callahan was sought as a witness
in the Wheeler investigation in order to prevent Halloran’s
and Callahan’ s further cooperation and testimony.

P. The South Boston Liquor Mart: The Bulger Group
Continues Its Criminal Activities Under the Umbrella
of FBI-Boston.

270. In or about January 1984, Connolly received reliable
information concerning an ongoing extortion by Bulger and

Flemmi of Stephen and Julie Rakes.

70

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 71 of 110

271. Bulger and Flemmi decided that the South Boston Liquor
Mart, which the Rakes had recently purchased, would be an
excellent site for their criminal activities. They, and
Kevin Weeks, visited the Rakes and said they wanted to buy
the liquor store. The Rakes told them it was not for sale.
Flemmi responded by pulling out a gun, commenting on how
lovely the Rakes’ young child was and reiterating that they
were going to buy the liquor store.

272. Joseph Lundbohm was a Boston police detective and
uncle of Julie Rakes. The Rakes sought Lundbohm’s
assistance, telling him what occurred. Lundbohm knew that
Bulger and Flemmi were reputed to be dangerous members of
the organized crime and sought the assistance of the FBI.
Lundbohm contacted Connolly. Connolly falsely told
Lundbohm that unless Rakes agreed to wear a recording
device in conversations with Bulger and Flemmi, the FBI was
unlikely to take action on the Rakes’ complaint.

273. In violation of FBI regulations, Connolly made no
record of the information that Lundbohm had provided him,
nor did he disclose it to defendant Ring, who had become
the acting supervisor of the Organized Crime Squad in 1983.
274. Connolly did, however, tell Bulger of his conversation
with Lundbohm. As a consequence, Bulger urged the Rakes

“to back off.”

71

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 72 of 110

275. The agents in the Boston office failed to investigate
the extortion of the Rakes, Connolly failed to attempt to
obtain the testimony of Mr. And Mrs. Rakes.

276. The extortion scheme succeeded. The Rakes reluctantly
sold their liquor store to Flemmi.

Q. The 1984-85 DEA “Bug:” Another Tip to Bulger and
Flemmi

277. In 1984 and 1985, the DEA and the FBI were authorized
by a series of court orders to engage jointly in electronic
surveillance targeting Bulger and Flemmi.

278. Armed with information provided by his colleagues,
Connolly contributed to assuring that DEA’s efforts would
not succeed by alerting Bulger and Flemmi to the
investigation generally and to the electronic surveillance
particularly.

279. The FBI, determined not to confirm for the United
States Attorney or the DEA the accuracy of their
understanding that Bulger and Flemmi were FBI informants,
disregarded the government’s legal obligation of candor to
the court when applying for authority to conduct electronic
surveillance.

280. McSweeney, the Chief for the Organized Crime Section

at FBI headquarters in Boston, told Connolly that the DEA

72

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 73 of 110

was trying to obtain a wire tap targeting Bulger and
Flemmi.

281, Morris also told Connolly about the investigation
targeting Bulger and Flemmi.

282. Connolly told Bulger and Flemmi that the DEA
investigation had been initiated and advised them of the
information he had obtained concerning its progress. As a
result, Bulger found the electronic bug in his car.

283. In the spring of 1984, Morris received from Bulger and
Flemmi a second $1,000 payment and a case of wine. These
payments were the expression of Bulger’s and Flemmi’s
appreciation for Morris’s assistance in informing them of
the DEA investigation against them.

284. When applying for court ordered wiretaps, the FBI made
material omissions caused by its reckless disregard for the
truth and for the obligations imposed by Title III and the
United States Constitution, in order to protect Bulger and
Flemmi.

285. Connolly provided to Flemmi the tip that the wiretap
was placed on the telephone of George Kaufman: In late
1984 or early 1985, Connolly began meeting with Bulger and
Flemmi at Newton’s apartment, rather than at Bulger’s home

or his own, because Connolly needed a new, secure location.

73

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 74 of 110

R. The Murder of John L. McIntyre: Since Becoming FBI
Informants, The Twenty-Fourth Known Murder Laid at the Feet
of Bulger/Flemni.

286. Halloran was not the only informant that the FBI
identified for Bulger and Flemmi. Rico disclosed the
identity of several informants to Flemmi, and Connolly
identified for Bulger and Flemmi at least a dozen
individuals who were either FBI informants or sources for
other law enforcement agencies.

287. In mid-October 1984, John L.. McIntyre, age 32, began
cooperating with Richard Bergeron of the Quincy Police
Department. McIntyre reported that he was engaged in
certain criminal activity and revealed that he was the
engineer on a ship named the Valhalla, which had been used
in an attempt to deliver guns and ammunition from
Massachusetts to the Irish Republican Army in Ireland.
288. McIntyre stated to Bergeron that Joseph Murray was
closely connected to Bulger and that Bulger, through his
associates Kevin Weeks and Patrick Nee, was also involved
in the Valhalla arms shipment. Flemmi was also mentioned
during the interview.

289. McIntyre was willing to cooperate with law
enforcement, but was “petrified” of the people that he was
discussing. McIntyre was fearful that his identity would

be disclosed.

74

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 75 of 110

290. McIntyre knew that if Bulger or Flemmi learned of his
willingness to cooperate with law enforcement officials,
his life would be in danger.

291. Bergeron realized that the information McIntyre was
providing would be significant to several law enforcement
agencies and he immediately arranged for agents of the DEA
and the United States Customs Service to participate in the
debriefing of McIntyre.

292. In addition, Bergeron told FBI Special Agent Roderick
Kennedy that McIntyre was cooperating and, among other
things, of McIntyre’s charges against Bulger and his
associates. At the time Bergeron contacted Kennedy,
Kennedy knew that Bulger and Flemmi were Connolly’s
informants.

293. At the time of Bergeron’'s contact, Kennedy was aware
of the Bulger/Murray relationship because in 1983 Connolly
told Kennedy that Bulger had disclosed that he had extorted
$60,000 to $90,000 from Murray, because Murray was storing
Marijuana in a warehouse in South Boston, which was part of
Bulger’s territory. Although Kennedy was the FBI’s
operational liaison with other agencies concerning
narcotics matters and had participated with the DEA in a
raid of the specific warehouse that Murray owned, Kennedy

did not share this information with the DEA or with any

75

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 76 of 110

prosecutors working on the case in violation of the
Attorney General Guidelines.

294. Kennedy subordinated the interest of investigations in
which he was involved to the interest. that Connolly and the
FBI had in maintaining Bulger and Flemmi as sources.

295. Kennedy, with a customs agent, interviewed McIntyre on
or about October 17, 1984. With regard to drugs, McIntyre
told Kennedy that “an individual named Whitey, who operates
a liquor store in South Boston [had become] partners with
Joe Murray” Kennedy recognized this as a reference to
Bulger. McIntyre agreed to fully cooperate with the FBI
and Customs Service. Kennedy reported the information that
he had received from McIntyre to his FBI supervisor,
Greenleaf.

296. Connolly was present when FBI Agents discussed
McIntyre’s cooperation with law enforcement.

297. In or about October and November 1984, members and
associates of the Bulger Group learned that John McIntyre
was cooperating with law enforcement officials including
agents of the Federal Bureau of Investigation and the
United States Customs Service concerning illegal activities
of the Bulger Group. These illegal activities included the
illegal shipment of arms and ammunition aboard the fishing

trawler Valhalla to elements of the Irish Republican Army

76

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 77 of 110

in Ireland in September of 1984 and the illegal
distribution of drugs by members and associates of the
Bulger Group, including the importation of approximately
thirty-six tons of marijuana into Boston harbor on board
the vessel Ramsland, which had been seized by federal
authorities on or about November 14, 1984.

298. On or about November 30, 1984, because he was
cooperating with the FBI, McIntyre was kidnapped, tortured
and murdered by Bulger, Flemmi, Weeks and others.

S. With the Downfall of LCN-Boston, And the Murder of
Several Informants, Bulger and Flemmi Are Free to Expand
The Bulger Group’s Criminal Activities

299. The arrest and prosecution of the members of LCN
allowed Bulger and Flemmi to expand their criminal
activities.

300. The murder of McIntyre assured Bulger and Flemmi that
McIntyre would not be providing to law enforcement
information about Bulger’s and Flemmi’s criminal
activities.

301. One of Morris’ informants reported that Flemmi was
“taking over, the LCN bookmakers and numbers agents, and
that the LCN was not able to do anything to stop him.” The

FBI made no effort to investigate these allegations.

77

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 78 of 110

302. In July 1986, despite knowledge of Flemmi‘s increased
criminal activity, FBI-Boston requested authority from FBI
headquarters to reopen Flemmi as an informant.

303. In November 1986, James Ahearn became Special Agent in
charge of the Boston Office of FBI. Ahearn asked his
assistant Special Agent Lawrence Potts to conduct a
“suitability review” of Bulger and Flemmi.

304. At that time, the FBI Manual established criteria to
be taken into consideration in conducting a suitability
review. In conducting his review, Potts did not consider
the range of factors prescribed by the FBI Manual and
failed to weigh the “productivity” of these two informants
against the seriousness of the threat posed by the crimes
Bulger and Flemmi were understood to e committing, and had
committed.

305. In violation of the rules and regulations Potts failed
to review the administrative portion of Bulger’s and
Flemmi’s files or information provided by other sources
concerning their criminal activity.

306. In violation of the FBI Manual that required FBI
headquarters review at least annually the determination by
a field office an individual’s suitability to serve as an
informant, the information was never provided to the FBI

headquarters and the review never took place.

78

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 79 of 110

307. During Ring’s tenure as supervisor of the Boston
office, the FBI was involved in the investigation of
payoffs to members of the Boston Police Department. In the
course of that investigation, FBI agents obtained the
cooperation of a Boston Police Lieutenant, James Cox. It
was decided to have Cox attempt to record conversations
with Flemmi and Bulger.

308. In or about August or September 1988, Connolly told
Bulger and Flemmi that Cox was cooperating with the FBI.
309. Connolly inserted false information into Flemmi’s file
in order to disguise his improper conduct in leaking
information to Bulger and Flemmi of Cox’s willingness to
cooperate.

310. As the pay-off investigation evolved, one John
Bahorian, a bookmaker, was believed to be making payments
to Flemmi. Special agents were preparing an application
for electronic surveillance of Bahorian, which targeted
Flemmi as well.

311. Morris was afraid that the electronic surveillance
would lead to Flemmi’s arrest and indictment. Morris was
concerned that if that occurred, the nature of his
relationship with Bulger and Flemmi would be revealed.
Thus, Morris asked Connolly to tell Flemmi and Bulger to

stay away from Bahorian. Morris also asked Connolly to

79

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 80 of 110

tell Bulger and Flemmi not to do anything to Bahorian
because Morris “did not want another Halloran.”

312. Connolly delivered Morris’s message to Bulger and
Flemmi. He later reported to Morris that Bulger and Flemmi
wanted to meet with him to discuss the Bahorian matter.
313. In the spring of 1988, prior to the inception of
electronic surveillance of Bahorian, Bulger, Flemmi and
Connolly met with Morris at his home. Morris told Bulger
and Flemmi about the electronic surveillance plan and
warned them to stay away from Bahorian.

314. Bahorian’s telephone was wiretapped from June 22 to
September 5, 1988. The wiretap produced evidence that lead
to the indictment of Bahorian and others. Flemmi was
neither intercepted, nor charged.

315. By September 1988, many - including law enforcement
officers, both state and federal - were questioning how it
was that Bulger, a notoriously violent career criminal had
eluded successful investigation for so long. This reached
a climax, of sorts, on the heels of yet another a
frustrated law enforcement attempt to capture Bulger on a
“bug.”

316. On September 20, 1988, The Boston Globe ran a feature
story, penned by the Globe Spotlight Team, captioned: “Law

Enforcement Officials’ Lament About An Elusive Foe: Where

80

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 81 of 110

Was Whitey?” Among the matters reported was an
extraordinary public comment - in the form of a vigorously
explicit denial - made by FBI-Boston's Special Agent in
Charge - when he was asked on the record as to whether
Bulger had certain “relations” with FBI-Boston. The
article, in pertinent part, reads as follows:

State Police Officials felt so strongly that
someone within the FBI had tipped the mobsters about the
bug that, in an unprecedented case of fingerpointing, they
asked the FBI to conduct an internal inguiry. The FBI
cleared two agents, and the FBI leadership remains outraged
at the suggestion that any of it own would engage in that
kind of treachery.

James F. Ahearn, special agent in charge of the
FBI in Boston, was unequivocal when asked last month if

Bulger has had relations with the FBI that have left him
free of its scrutiny.

“That is absolutely untrue,” said Ahearn. “We
have not had evidence that would warrant it, and if we do
develop anything of an evidentiary nature, we will pursue
it. We specifically deny that there has been special
treatment of this individual.” He declined to make any
further comment on the matter and instructed Connolly not
to_ speak on the subject.

 

 

Boston Globe, “Metro” Section, September 20, 1988

(emphasis supplied).

T. Ring, Connolly and Others at FBI-Boston Continue to

Act In Violation of the Attorney General’s Informant
Guidelines.

81

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 82 of 110

317. On June 13, 1989, The Boston Herald published an

 

article by Shelly Murphy headlined “Ex-Con Seen as Hub
Mob‘s Heir Apparent.” The article contained accurate
information (that had been provided to Connolly by
informant) that Salemme was taking over the Boston LCN’s
loan sharking and gambling activities when other members of
the Boston LCN were indicted The Boston Herald article
cited “law enforcement sources” and accurately reported
that certain “local mob leaders” were to be indicted and
that Salemme had been “made” a member of the Patriarca
Family.

318. Connolly was the source of information for this
article.

319. On June 16, 1989, three days after it was published,
Salemme was shot, but not killed and another member of the
LCN, Grasso, was murdered in Connecticut.

320. Bulger and Flemmi had an interest in the murder of
Salemme - an enhanced opportunity to profit from the vacuum
created by the decimation of the LCN in Boston.

321. John Mercurio became an informant for Connolly and was
a source of some of the information in the Boston Herald
article.

322. On August 2, 1989, another informant, who Ring

regarded as highly reliable, advised that Mercurio played a

82

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 83 of 110

central role in the Salemme shooting. The informant
stated, among other things, that Mercurio had fled after
the shooting because he had lured Salemme to the meeting at
which the attempt on Salemme’s life was made.

323. Ring believed that this information was true and that
Mercurio had previously failed to inform the FBI of plans
for imminent violent activity in which he was involved.
Ring also recognized that there were enduring threats of
additional violence about which Mercurio would be
knowledgeable because of his involvement.

324. The Attorney General Guidelines, which were
incorporated in the FBI Manual, required a special review
process if an FBI field Office wanted to keep an informant
open after it learned that he had participated in a serious
act of violence or any other serious crime. FBI
headquarters and the Assistant Attorney General should have
been advised that the Boston office had credible
information concerning Mercurio’s involvement in the Grasso
murder and the Salemme shooting. The Boston FBI including
Ahearn, however, did not provide the required notification
to headquarters or the Department of Justice as required by
the Guidelines.

325. Instead, the Boston office of the FBI arrogated to

itself the decision to continue to utilize Mercurio as an

83

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 84 of 110

informant, despite the fact that it was believed that he
had, while as an informant, been involved in murder and
attempted murder.

326. When a federal prosecutor learned of the reliable
report of Mercuiro’s involvement in the Salemme shooting,
she asked Ring whether it presented a problem under the
Attorney General’s Guidelines. Ring lied to her and told
her that it did not.

327. Contrary to the FBI Rules and Guidelines, Ring and
Connolly informed Mercurio of an electronic surveillance
and permitted him to flee prior to his being indicted.

328. On or about October 30, 1989, Mercurio fled the
jurisdiction and became a fugitive.

329. In allowing Mercurio to flee prior to indictment, Ring
and Connolly avoided the risk that the prosecution of LCN
members would be jeopardized by the issues that would have
been presented by Mercurio’s dual status as a defendant and
an FBI source concerning criminal activity. Mercurio’s
flight also masked the violation of the Attorney General’s
Guidelines committed by Ring and Ahearn when they decided
to continue Mercurio as an informant despite his perceived
involvement in the Salemme shooting, without consulting FBI

headquarters and the Assistant Attorney General.

84

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 85 of 110

U. Connolly Retires, but the “Conspiracy of Silence”
Continues

330. In or about December 1990 and on “short notice,”
Connolly retired from the BFI. By this time, Connolly had
enjoyed a successful career as an FBI agent, based largely
on his handling of Top Echelon informants. On December 3,
1990, and as a result of Connolly’s retirement, the Agency
administratively closed Flemmi and Bulger as informants.
331. By 1992, however, the United States Attorney’s Office
had begun a grand jury investigation targeting Bulger and
Flemmi, among others.

332. In the years immediately preceding presentment by the
U.S. Attorney of an indictment naming Bulger and Flemmi,
the FBI kept secret from the U.S. Attorney information
concerning Bulger’s and Flemmi's longstanding informant
relationship with the FBI. This silence continued,
unabated, until January 9, 1995, four days after Flemmi’s
arrest and the day before the U.S. Attorney was to present
for a federal grand jury’s consideration, an indictment
naming Flemmi and Bulger.

333. Connolly, who was no longer employed by the Bureau,
was able to monitor the progress of the grand jury
investigation and keep Bulger and Flemmi advised of its

developments. Connolly knew that Bulger and Flemmi were

85

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 86 of 110

targets of the grand jury investigation and often discussed
it with each of them, particularly Bulger.

334. Connolly’s enduring relationship with members of the
Organized Crime Squad gave him access to some information
concerning the ongoing investigation of Bulger and Flemmi.
335. In early January 1995, Connolly alerted Flemmi and
Bulger that on January 10, 1995, the US. Attorney would ask
a federal grand jury in the District of Massachusetts to
issue an indictment in the case subsequently captioned
United States v. Francis P Salemme.

336. On or about January 4, 1995, in connection with the

case subsequently captioned United States v. Salemme, et

 

al, CR. 94-10287-MLW(D.Mass), arrest warrants were issued
for Flemmi, Bulger and others.

337. On or about January 5, 1995, Salemme fled the District
of Massachusetts. On or about August 12, 1995 in West Palm
Beach, Florida, law enforcement officers took Salemme into
custody.

338. On or before January 5, 1995, Bulger fled the District
of Massachusetts. He remains a fugitive.

339. On or about January 23, 1995, Bulger returned briefly
to the Boston area to drop off Theresa Stanley, with whom
he had been romantically involved for 30 years. It was

widely known that Stanley had been traveling with Bulger

86

 

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 87 of 110

and was back in Boston. Yet, the FBI did not contact her
until April, 1996, fifteen months after she had returned to
the Boston area.

340. By the time FBI-Boston interviewed Stanley, any
information she could provide was dated and had
correspondingly diminished value. Nevertheless, the FBI
paid Stanley $1,000 in November 1996 ~ an amount also paid
to Halloran’s widow after Halloran’s murder in 1982.

341. Connolly was not interviewed in the Bulger fugitive
investigation until March 21, 1997, more than two years
after Bulger fled.

342. Connolly and Morris were upset that Bulger and Flemmi
had been indicted. Connolly stated that he had known
Bulger since they were both boys and Bulger had bought him
an ice cream cone. Connolly stated that he “hoped that
Bulger was never caught.” “At least he kept his end of the
bargain.” With regard to the government, Connolly
wondered, “what ever happened to keeping your word.”

343. According to Connolly, the “FBI knew what [Flemmi and
Bulger] were. They didn’t have a paper route when [the
FBI] first met them. All .. Top Echelon informants are
murderers. The government put me in business with
murderers.” Connolly further stated that ‘charging Bulger

and Flemmi with gambling and loan sharking was a betrayal

87

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 88 of 110

of the promises made to [them].” However, the minute
[Connolly] told [the government] that [he] would testify to
the fact that thee people were authorized to run a gambling
and loansharking business, the [government] did not want to
hear from [him] .”

344. On December 22, 1999, in the United States District
Court for the District of Massachusetts, John J Connolly,
James Bulger, and Stephen Flemmi were indicted. United
States v Connolly, Criminal Number 99-10428-JLT. On or
about October 11, 2000, a Superseding Indictment was filed
against Connolly and Flemmi in the United States District
Court for the District of Massachusetts, 99-10428-JLT.

345. According to reports published in The Boston Globe on
June 27, 2000, Connolly, through his attorneys, maintains
he was authorized by his superiors at the FBI to undertake
conduct alleged in the indictment alleged in the previous
paragraph: “it is clear that Mr. Connolly was authorized
to commit all of the acts he committed with respect to
informants. He was authorized to tell them to commit
crimes. He was authorized to look the other way. He was
authorized not to press them for information about their

criminal conduct.”

88

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 89 of 110

VI. CLAIMS FOR RELIEF
Count I
(Fourth and Fifth Amendments) Conspiracy Pre-Callahan
Murder: “To Protect Bulger’s and Flemmi’s Status as Top
Echelon Informants” Defendants: Bulger; Flemmi; Rico;
Connolly; Morris and Fitzpatrick
(M.G.L.c. 229, §§ 2 and 6)

346. Plaintiffs hereby repeat and reallege the allegations
contained within paragraphs 1 through 345 of the Complaint
as if fully set forth herein.
347. From in or about 1969 and continuing hereafter up to
August 2, 1982, in the District of Massachusetts and
elsewhere, defendants Rico, Connolly, Morris and
Fitzpatrick, while acting under color of federal law and
within the course and/or scope of their office or
employment as federal agents with the FBI, an agency of the
defendant United States, together with defendants Bulger
and Flemmi, combined, conspired, confederated and agreed to
unlawfully protect Bulger and Flemmi from investigation,
arrest and prosecution for their criminal activities, in
exchange for Bulger’s and Flemmi'’s agreement to provide
information pertaining to the criminal activities of others
to the FRI.
348. It was the object of the conspiracy to protect

defendants Bulger and Flemmi from investigation, arrest and

prosecution in order to maintain their roles as Top Echelon

89

 

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 90 of 110

informants, providing information to the FBI. In
furtherance thereof, defendants Rico, Morris, Connolly and
Fitzpatrick, variously, and among other things, either
intentionally or with deliberate indifference as to the
constitutional rights of Decedent and plaintiffs: (a)
provided Bulger and Flemmi with confidential law
enforcement information regarding grand jury
investigations, court authorized wire taps and other
investigative efforts, including the identities of
confidential informants who were providing information
about Bulger and Flemmi; (b) deflected and squelched
prosecutions and criminal investigations about Bulger’s and
Flemmi’s crimes; (c) improperly preserved Bulger’s and
Flemmi’s status as FBI informants through the filing of
misleading official reports and failed to report and record
allegations of their crimes in official FBI documents; (d)
improperly failed to supervise and review Bulger’s and
Flemmi’s criminal activities; (e) deceived or otherwise
made misrepresentations to other concerning the criminal
activities of Bulger and Flemmi; and (f) failed to follow
the Attorney General Guidelines governing use and handling
of Top Echelon informants.

349. The foregoing conspiracy, between certain of the

Federal Defendants and others acting in concert with such

90

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 91 of 110

Federal Defendants, gave rise to a reasonably foreseeable
risk of harm to others, including Decedent, to wit: Bulger
and/or Flemmi, two notorious, career criminals with
demonstrated capacities and propensities for violence, so
protected and correspondingly emboldened by way of this
illicit “special relationship,” would form the reasonably
foreseeable belief, as a direct and natural consequence
thereof; that Bulger and Flemmi could, with near impunity,
respond with great violence to any and all others actually
posing, or perceived by Bulger and/or Flemmi as posing, any
threat of any kind to Bulger and/or Flemmi.

350. Within the ambit of risk of harms foreseen and
reasonably to be foreseen, as a direct and natural
consequence of the foregoing conspiracy, were those harms
suffered by Decedent and Plaintiffs, including violation of
Decedent's constitutional rights to be secure in his person
and not to be deprived of his life without due process of
law, all in violation of the Fourth and Fifth Amendments,
respectively, to the US. Constitution.

351. By reason of such conspiracy, therefore, defendants
Bulger, Flemmi, Martorano, Rico, Morris, Connolly, and
Fitzpatrick are liable to Plaintiffs and the Callahan
Estate, variously, for all damages suffered as a

consequence thereby, to include, without limitation, (a)

91

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 92 of 110

the fair monetary value of Decedent to Plaintiffs and the
Callahan Estate, including but not limited to compensation
for the loss of reasonably expected net income, services,
protection, care, assistance, society, companionship,
comfort, guidance, counsel and advice of Decedent to
Plaintiffs; (b) punitive damages; (c) reasonable funeral
and burial expenses; (d) all damages for Decedent's
conscious suffering in the moments immediately preceding
his brutal murder (all pursuant to M.G.L. c. 229, §§ 2 and
6); and each Plaintiff’s pain and anguish suffered as a
direct and natural consequence thereof.
Count II

(Fifth Amendment) Claims -

Defendants: Morris; Connolly, Fitzpatrick; and John Does
352. Plaintiffs hereby repeat and reallege the allegations
contained within paragraphs 1 through 351 of the Complaint
as if fully set forth herein.

353. Federal Defendants Morris, Connolly, Fitzpatrick and
John Does, while acting under color of law of the United
States and with deliberate indifference to Decedent's
constitutional rights, denied John Callahan his clearly
established substantive due process right not to be

deprived of life and liberty without due process of law, as

92

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 93 of 110

guaranteed by the Fifth Amendment to the United States
Constitution

354. In this respect, Federal Defendants, Morris, Connolly
and Fitzpatrick, variously, continued to utilize Bulger and
Flemmi as Top Echelon informants; failed to investigate,
prosecute or otherwise ring a halt to the known criminal
activities of their informants, Bulger and Flemmi; failed
to enforce the Attorney General Guidelines governing high
echelon informants, including Bulger and Flemmi; in
violation of the regulations and policy of the United
States failed to inform the appropriate law enforcement or
prosecutive authorities of the criminal activities of
Bulger and Flemmi; and, notwithstanding the foregoing,
continued to allow Connolly to remain Bulger and Flemmi’s
contact agent, or “handler.”

355. These actions and omissions, undertaken with
deliberate indifference to Decedent’s constitutional
rights, violated John Callahan's clearly established
substantive due process rights not to be deprived of life
or liberty without due process of law, guaranteed by the
Fifth Amendment to the United States Constitution.

356. As a direct, proximate, and foreseeable result of the
actions of the above Federal Defendant, Decedent Was, a

alleged, denied his constitutional rights pursuant to the

93

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 94 of 110

Fifth Amendment to the United States Constitution, and
suffered extreme and severe fright, shock, fear, horror,
emotional distress and wrongful death.
357. The actions and omissions of the above Federal
Defendants, alleged above, were an extreme deviation from
reasonable standards of conduct, undertaken with deliberate
indifference and/or reckless disregard for their likely
consequences. Plaintiffs and the Callahan Estate are thus
entitled to an award of punitive damages.
Count III
(Fourth Amendment) Claim -
Defendants: Connolly; Morris; Fitzpatrick;
And John Does
358. Plaintiffs hereby repeat and reallege the allegations
continued within paragraphs 1 through 357 of the Complaint
as if fully set forth herein.
359. Federal Defendants Morris, Connolly, Fitzpatrick and
John Does, while acting under color of law of the United
States and with deliberate indifference to Decedent's
constitutional rights, denied John Callahan his clearly
established substantive due process right to be secure in
his person against unreasonable seizures as guaranteed by

the Fourth Amendment to the United States Constitution.

94

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 95 of 110

360. In this respect, Federal Defendants Morris, Connolly
and Fitzpatrick, variously, continued to utilize Bulger and
Flemmi as Top Echelon informants; failed to investigate,
prosecute or otherwise bring a halt to the known criminal
activities of their informants, Bulger and Flemmi; failed
to enforce the Attorney General Guidelines governing high
echelon informants, including Bulger and Flemmi; in
violation of the regulations and policy of the United
States failed to inform the appropriate law enforcement or
prosecutive authorities of the criminal activities of
Bulger and Flemmi; and, notwithstanding the foregoing,
continued to allow Connolly to remain Bulger and Flemmi’s
contact agent, or “handler.”

361. These actions and omissions, undertaken with
deliberate indifference to Decedent's constitutional
rights, violated John Callahan's clearly established right
to be secure in his person against unreasonable seizures as
guaranteed by the Fourth Amendment to the United States
Constitution.

362. As a direct, proximate, and foreseeable result of the
actions and omissions of the above Federal Defendants,
Decedent was, as alleged, denied his constitutional rights

pursuant to the Fourth Amendment to the United States

95

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 96 of 110

Constitution, and suffered extreme and sever fright, shock,
fear, horror, emotional stress and wrongful death.
363. The actions and omissions of the above Federal
Defendants, alleged above, were an extreme deviation from
reasonable standards of conduct, undertaken with deliberate
indifference and/or reckless disregard for their likely
consequences. Plaintiffs and the Callahan Estate are thus
entitled to an award of punitive damages.
Count IV
“Wrongful Death” - “Willful, Wanton, Reckless” -
Defendants: Bulger, Flemmi Martorano; Rico; Connolly;
Morris; and United States
(M.G.L.c. 229, § 2)

364. Plaintiffs hereby repeat and reallege the allegations
contained within paragraphs 1 through 363 of the Complaint
as if fully set forth herein.
365. By reason of the aforesaid willful and wanton conduct
of defendants Bulger, Flemmi and Martorano, and the
willful, wanton and/or reckless conduct and/or omissions,
variously, of Federal Defendants Rico, Morris, Connolly and
Fitzpatrick, such conduct and/or omissions substantially
contributing to or otherwise proximately causing the harms
complained of herein, defendants Bulger, Flemmi and

Martorano are directly liable; Federal Defendants Rico,

Connolly, Morris are directly liable; and the United States

96

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 97 of 110

is both vicariously and directly liable, to Plaintiffs and
the Estate, variously, for (a) the fair monetary value of
Decedent to Plaintiffs and the Estate, including but not
limited to compensation for the loss of reasonably expected
net income, services, protection, care, assistance,
society, companionship, comfort, guidance, counsel and
advice of Decedent to Plaintiffs; (b) punitive damages; and
(c) reasonable funeral and burial expenses, all pursuant to
M.G.L.c. 229, § 2.
Count V
Civil (“Wrongful Death”) Conspiracy - “Willful and Wanton”
Defendants: Bulgex, Flemmi, Martorano
(MGL.C. 229, § 2)

366. Plaintiffs hereby repeat and reallege the allegations
contained within paragraphs 1 through 365 of the Complaint
as if fully set forth herein.

367. Beginning in or about 1980 and until on or about May
27, 1981, Bulger, Flemmi, Martorano and others conspired,
confederated, combined and agreed to unlawfully take the
life of another human being, without justification, to wit,
John Callahan.
368. In furtherance of the foregoing conspiracy, and in or
about May, 1981, defendants Bulger and/or Flemmi directed

Martorano and another member of the Bulger Group to travel

to Florida, for the purpose of lying in wait for and

97

 

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 98 of 110

ambushing John Callahan, then and there to kill John
Callahan by means of deadly weapon.

369. In furtherance of the foregoing conspiracy, in or
about August 2, 1982, Martorano and another member of the
Bulger Group indeed traveled to Florida.

370. In furtherance of the foregoing conspiracy, on or
about May 27, 1981, under the direction and control of
defendants Bulger and/or Flemmi, defendant Martorano met
with John Callahan where he shot and killed the decedent.
371. By reason of the aforesaid conspiracy, defendants
Bulger, Flemmi and Martorano are liable to Plaintiffs and
the Callahan Estate, variously, for (a) the air monetary
value of Decedent to Plaintiffs and the Estate, including
but not limited to compensation for the loss of reasonably
expected net income, services, protection, care,
assistance, society, companionship, comfort, guidance,
counsel and advice of Decedent to Plaintiffs; (b) punitive
damages; (c) reasonable funeral and burial expenses; (d)
all damages for Decedent’s conscious suffering in the
moments immediately preceding his brutal murder (all
pursuant to M.G.L.c. 229, §§ 2 and 6); and (e) each
Plaintiff’s pain and anguish suffered as a direct and

Natural consequence thereof.

98

 

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 99 of 110

Count VI
“Wrongful Death” “Willful, Wanton, Reckless’ - Conscious

Suffering”

Defendants: Bulger, Flemmi; Martorano; Rico; Connolly;
Morris; United States
(M.G.L.C.229, §6)
372, Plaintiffs hereby repeat and reallege the allegations
contained within paragraphs 1 through 371 of the Complaint
as if fully set forth herein.
373. By reason of the aforesaid willful and wanton conduct
of defendants Bulger, Flemmi and Martorano, and the
willful, wanton and/or reckless conduct and/or omissions,
variously, of Federal Defendants, Rico, Morris Connolly and
Fitzpatrick, such conduct and/or omissions substantially
contributing to or otherwise proximately causing the harms
complained of herein, Bulger, Flemmi and Martorano are
directly liable; Federal Defendants Rico, Connolly, Morris
are directly liable; and the United States is both
vicariously and directly liable to the Callahan Estate in
respect of all damages for Decedent’s conscious suffering
in the moments immediately preceding his brutal murder, all
pursuant to M.G1L.c.229,§ 6, and the FTCA, 28 U.S.C. §§
1346 and 2671 et seq.
Count VII
“Wrongful Death” - “Negligence”

Defendants: Rico; Connolly; Morris;
Fitzpatrick; John Does; United States

99

 
Case 1:02-cv-12372-RCL Document1 Filed 12/10/02 Page 100 of 110

(M.G.L.c. 229, § 2)

374. Plaintiffs hereby repeat and reallege the allegations
contained within paragraphs 52 through 353 of the Complaint
as if fully set forth herein.

375. In combination with the aforesaid willful and wanton
conduct of defendants Bulger, Flemmi and Martorano and by
reason of the aforesaid intentional conduct and/or
negligent conduct and/or omissions, variously, of Federal
Defendants Rico, Morris, Connolly, Fitzpatrick and other
federal actors, yet unknown to Plaintiffs, such intentional
conduct and/or negligent conduct and/or omissions on the
part of the aforesaid Federal Defendants substantially
contributing to or otherwise proximately causing the harms
complained of herein, Federal Defendants Rico, Connolly,
Morris, Fitzpatrick and John Does are directly liable; and
the United States is both vicariously and directly liable,
to Plaintiff and the Callahan Estate, variously, for (a)
the fair monetary value of Decedent to Plaintiffs and the
Callahan Estate, including but not limited to compensation
for the loss of reasonably expected net income, services,
protection, care, assistance, society, companionship,
comfort, guidance, counsel and advice of Decedent to

Plaintiffs; (b) punitive damages; and (c) reasonable

100

 

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 101 of 110

funeral and burial expenses, all pursuant to M.G.L.c. 229,
§ 2.
Count VIII
“Wrongful Death” - “Negligence” - “Conscious Suffering”
Defendants: Rico; Connolly; Morris; Fitzpatrick; John
Does; United States
(M.G.L.¢c. 229, § 6)

376. Plaintiffs hereby repeat and reallege the allegations
contained within paragraphs 1 through 375 of the Complaint
as if fully set forth herein.
377. In combination with the aforesaid willful and wanton
conduct of defendants Bulger, Flemmi and Martorano and by
reason of the aforesaid negligent conduct and/or omissions
of Federal Defendants Rico, Morris, Connolly, Fitzpatrick
and other federal actors, yet unknown to Plaintiffs, such
negligent conduct and/or omissions on the part of the
aforesaid Federal Defendants substantially contributing to
or otherwise proximately causing the harms complained of
herein, Federal Defendants Rico, Connolly, Morris,
Fitzpatrick and John Does are directly liable; and the
United States is both vicariously and directly liable, to
the Callahan Estate for all damages in respect of
Decedent's conscious suffering in the moments immediately
preceding his brutal murder, all pursuant to M.G.L.c.229,

§6, and the FTCA, 28 U.S.C. §§ 1346 and 2671 et seq.

101

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 102 of 110

Count Ix
Emotional Distress -
Defendants: Bulger; Flemmi; Martorano; Connolly; Morris
Fitzpatrick; John Does; United States

378. Plaintiffs hereby repeat and reallege the allegations
contained within paragraphs 52 through 353 of the Complaint
as if fully set forth herein.
379. The aforesaid willful and wanton conduct of Bulger,
Flemmi and Martorano, in conspiring to lay in wait for and
to murder, and in carrying out the brutal murder of John B.
Callahan, was extreme and outrageous; beyond all possible
bounds of decency; and was utterly intolerable ina
civilized society.
380. By reason of the foregoing willful and wanton conduct,
in combination with the aforesaid intentional, reckless
and/or negligent conduct and/or omissions or other wrongful
conduct, variously, of Federal Defendants Rico, Morris,
Connolly, Fitzpatrick and other federal actors, yet unknown
to Plaintiffs, such negligent conduct and/or omissions on
the part of the Federal Defendants substantially
contributing to or otherwise proximately causing the
emotional distress suffered by Plaintiffs, Bulger, Flemmi
and Martorano are directly liable; Federal Defendants Rico,
Connolly, Morris, Fitzpatrick and John Does are directly

liable; and the United States is both vicariously and

102

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 103 of 110

directly liable, to Plaintiffs for all damages in respect
of such emotional distress.
Count xX
Bivens (“Post-Callahan Murder”) Conspiracy to Deprive
Estate and Plaintiffs of Property and Access to Courts
Under First, Fourth and Fifth Amendments -

Defendants: Connolly; Morris; Fitzpatrick; Ring;
Greenleaf; Ahearn; John Does

\

381. Plaintiffs hereby repeat and reallege the allegations
contained within paragraphs 1 through 380 of the Complaint
as if fully set forth herein.

382. From in or about May, 1981 and continuing thereafter
up to September, 2000 in the District of Massachusetts and
elsewhere, Federal Defendants Morris, Connolly,
Fitzpatrick, Ring, Greenleaf and Ahearn, while acting under
color of federal law and within the scope of their office
or employment as federal agents with the FBI, an agency of
the defendant United States, together with their
informants, Bulger and Flemmi, combined, conspired,
confederated and agreed to unlawfully protect Bulger and
Flemmi from investigation, arrest and prosecution for their
criminal activities, in exchange for Bulger’s and Flemmi’s
agreement to provide information pertaining to the criminal

activities of others to the FBI.

103

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 104 of 110

383. It was the object of the conspiracy to protect
defendants Bulger and Flemmi, from and after the Callahan
murder, from investigation, arrest and prosecution in order
to, among other things, maintain their roles as Top Echelon
informants, providing information to the FBI. In
furtherance thereof, certain of Defendants Morris,
Connolly, Fitzpatrick, Ring, Greenleaf and Ahearn,
variously, and among other things, either intentionally or
with deliberate indifference as to the constitutional
rights of Decedent and Plaintiffs: (a) provided Bulger and
Flemmi with confidential law enforcement information
regarding grand jury investigations, court authorized wire
taps and other investigative efforts, including the
identities of confidential informants who were providing
information about Bulger and Flemmi; (b) deflected and
squelched prosecutions and criminal investigations about
Bulger’s and Flemmi’s crimes; (c) improperly preserved
Bulger’s and Flemmi’s status as FBI informants through the
filing of misleading official reports and/or failing to
report and record allegations of their rimes in official
FBI documents; 9d) improperly failed to supervise and
review Bulger’s and Flemmi’s criminal activities; (e)
deceived, shielded and/or otherwise made misrepresentations

to others concerning the criminal activities of Bulger and

104

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 105 of 110

Flemmi; (f) failed to follow the Attorney General
Guidelines governing use and handling of Top Echelon
informants; and (g) deceived, shielded and/or otherwise
made misrepresentations concerning FBI-Boston’s long-
standing “special relationship” with Bulger.

384. As a direct, proximate, foreseeable and intended
result of this conspiracy, the aforesaid Federal Defendants
prevented and preclude plaintiffs and the Callahan Estate
from learning the predicate facts and circumstances leading
up to and surrounding the murder of John B. Callahan, to
include the identities of those involved and the facts and
circumstances regarding the longstanding “special
relationship” between the killers and FBI-Boston, thus (a)
precluding them from: learning he bases of their instant
claims for relief; submitting, among other things,
administrative claims for relief upon the FBI, as the
appropriate respondent federal agency; and proceeding
thereafter to the courts, to secure civil judgments and
damages, on all claims, demands and causes of action which
lie against all those responsible and otherwise answerable
for the murder of John B. Callahan; and (b) causing or
otherwise permitting crucial evidence to have been lost,

witnesses; memories to fade and/or their testimony to

105

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 106 of 110

otherwise become unavailable, thus substantially
compromising Plaintiffs’ claims.

385. By reason of the foregoing conspiracy, the aforesaid
Federal Defendant’s denied Plaintiffs and the Callahan
Estate their clearly established constitutional rights to
seek redress of grievances in the courts, as guaranteed by
the First, Fourth and fifth Amendments to the United States
Constitution and their respective rights not to be deprived
of property without due process of law as secured by the
Fifth Amendment to the United States Constitution.

386. Where the foregoing actions and omissions of the
various Federal defendants, as alleged above, constituted
an extreme deviation from reasonable standards of conduct,
undertaken with deliberate indifference to or reckless
disregard for their likely consequences, Plaintiffs and the
Callahan Estate are entitled to punitive damages.

387. By reason of such conspiracy, therefore, defendants
Bulger, Flemmi, Martorano and Federal Defendants Morris,
Connolly, Fitzpatrick, Ring, Greenleaf, and Ahearn are
liable to Plaintiffs and the Wheeler Estate, variously, for
all damages suffered as a consequence thereby, to include,
without limitation the monetary (time) value of such
damages, lost to Plaintiffs as a direct and natural

consequence of such conspiracy.

106

 

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 107 of 110

WHEREFORE, Mary Jane Callahan, Administratrix of the Estate
of John B. Callahan, and the individual Plaintiffs hereby
demand legal damages from the various Defendants, jointly
and severally, on each Count of the Complaint for Relief as
set forth herein and as to which the Defendants are named,
in such amounts as shall be established at trial of this
matter, and such other and further relief as follows:

B. Their costs of suit and attorneys’ fees in this action;
C. Declaratory relief, under 28 U.S.C. § 2201, where, among
other matters, the Honorable Court issue its Order
declaring as adjudicated, for all purposes having to do
with the instant claims solely as against the Defendant
United States, and in such form as it deems appropriate in
the circumstances:

(1) those findings of fact appearing within the “Memorandum

and Order” reported at United States v. Salemme, 91

 

F.Supp.2d 141 (D.Mass. 1999);

(2) those facts and circumstances as alleged in United
States v. Kevin P. O'Neil, James J. Bulger and Stephen J.
Flemmi, 99-10371-RGS (where the United States chares
Bulger, and Flemmi with, among others, Racketeering
Conspiracy (“Count One”), and substantive Racketeering

(“Racketeering Act Number Sixteen”), two predicate acts of

107

 

 
Case 1:02-cv-12372-RCL Document 1 Filed 12/10/02 Page 108 of 110

which are conspiracy to murder John B. Callahan, and the
murder of John B. Callahan); and
(3) those facts and circumstances as alleged in United
States v. John J. Connolly and Stephen Flemmi, 99-10428-JLT
(where the United States charges that Connolly was a member
of a “criminal enterprise” also including Bulger and
Flemmi; that the enterprise “acted to protect James Bulger,
Stephen Flemmi..from arrest and prosecution for criminal
activities including murder,..” and that it “acted to
facilitate those criminal activities of Bulger, Flemmi and
their associates.” Indictment at para. 13 (“Purpose of the
Enterprise”).
D. Such other and further relief as the Honorable Court
deems meet and just in the premises.

PLAINTIFFS DEMAND TRIAL BY JURY ON ALL ISSUES SO TRIABLE.
Respectfully submitted,
Mary Jane Callahan, John B. Callahan,

Kathleen Ellen Phelps & Patrick
Shawn Calla

"AA I orneys,
A Mee

Stephen ‘Néyman
B.B.O. # 551576

Jee Fh oe

es P. Duggan

.O. # 13750
0 State Street
2 Ploor

Boston, MA 02109
617-263-6800

 

 
JS 44
(Rev. 12/96)

Case 1:02-cv- “eivit COVER SHEET @ Page 109 of 110

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by law, except as provided by loca! rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

1. (a) PLAINTIFFS DEFENDANTS th thig pratt 1 etn fl
cou Me tedRs coher ese eRe on

(IN U.S. Aa nee rea T
IN LAND CONDEMNATION cased ei C Rue
RACT OF LAND INVOLVED. ite aU OF

ATTORNEYS (IF KNOWN)

tn Bronery

   

porusntbrunnee LA mele hed-tyt

(EXCEPT IN U.S. PLAINTIFF CASES)
NOTE:

 

(¢) attorneys gen NAME, ADDRESS, AND TELEPHONE NUMBER)

LF fave doe. tare

 

 

 

 

 

 

 

 

 

 

 

 

 

 

/ o /
il. BASIS OF JURISDICTION (PLAGE AN" INONE BOXONLY) | TEL CITIZENSHIP © OF PRINCIPAL PARTIES (Pisce AN "x" IN ONE BOX FOR PLAINTIFF
(For Diversity Cases Only) AND ONE BOX FOR DEFENDANT)
PRF DEF PTF DEF
01 U.S. Government 03 Federal Question Citizen of This State o1 Inco rated or Principal Place m4 O04
(U.S. Government Not a Party) siness In This
U.S. Government O4 Diversity Citizen of Another State O2 O2 engortn and Principal Place O5 O85
Defendant (Indicate Citizenship of Parties siness In Another State
i i .
in Itern Il) Citizen or Subject of an3 3 Foreign Nation o6 6
Foreign Country
IV. ORIGIN (PLAGE AN “xX” IN ONE BOX ONLY) Appeal to District
Transferred from Judge from
Original O 2 Removed from O3Remanded from 4 Reinstated or Os another district Oe Multidistrict o 7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
V. NATURE OF SUIT = (PLACE AN “X" IN ONE BOX ONLY)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
D 110 insurance PERSONAL INJURY PERBONAL INJURY DO 610 Agriculture DO 422 Appeal 28 USC 156 0 400 State Reapportionment
D120 Marine 310 Alrplane 0 2 Personal injury — 0 620 Other Food & Drug 0 410 Antitrust
D 130 Miller Act 0 315 Airplane Product Med. Malpractice O 625 Drug Related Seizure (2 423 Withdrawal O 490 Banks and Banking
UD 140 Negotlabie instrument Liability 0 35 Personal ra ny of Property 21 USC 881 26 USC 157 DI 456 Commerce/iCc Rates/etc.
0 150 Recovery of Overpayment C) 320 Assault, Libat & 0 6% Liquor Laws DC 4@0 Deportation
& Enforcement of Judgment Slander oO 38 are Personal D @40 RR. & Truck PROPERTY RIGHTS | © 470 Racketeer influenced and
( 151 Medicare Act © 390 Federal Employers’ Injury Product Liability | [] 880 Airline Regs. 820 Copyright Corrupt Organizations
{1 182 Recovery of Defaulted Liability PERSONAL PROPERTY C680 Occupations! a 890 Pon 5 [1 810 Selective Service
uden 8 0 340 Marine Safety/Hoa! OD @50 Securtties/Commodties/
(Excl. Veterans) 1 345 Marine Product [1 370 Other Fraud 1 e890 other © #40 Tracemar Exchange
D 153 Recovery of Overpayment ability D 371 Truth In Lending D 878 Customer Challenge
of Veteran's Benefits D0 350 Motor Venicle D 380 Other Personal LABOR SOCIAL SECURITY 12 USG 3410
0 160 Stockholders’ Suits C) 386 Motor Vehicle Property Damage D 891 Agrticuttural Acts
1 190 Other Contract Preduct Liability D 385 Property Damage 0 710 Fair Labor Standards =| C1 864 HIA (13051) C0 882 Economic Stabilization Act
(9 198 Contract Product Liablilry Other Personal injury Product Liability Act D 962 Black Lung (823) DD 88% Environmental Matters
0 720 Labor/Mgmt. Relations | 1 863 DIWC/DIWW (405(g))| © 94 Energy Allocation Act
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS oO as ssio te xvi Cl 895 Freedom of
1 210 Land Condemnation 1 441 Voting £1 $10 Motions o Vacate Te eA | (eon) 900 Appoal of Pox Determinetion
DC 220 Foreclosure 0 442 Employment lance
5 290 Rent & Ejectment 1 443 Housing’ o HABEAS CORPUS 0 740 Raltway Labor Act FEOERAL TAX SUITS «a 980 Cont ‘tlonaity of to Justice
C) 240 Torts to Land Accommodations B35 Death Pei C1 760 Other Labor Litigation State Statutes
©) 245 Tort Product Labllity 444 Welfare 8 B40 Mandamus & other 0870 ebetendant) | C890 Other Statutory Actions
[) 200 All Other Real Property Other Civil Rights () 850 Civil Rights DO 701 Empl, Ret, tne. 871 IRS — Third Pi
Security Act n arty
C0 855 Prison Condition rity 26 USC 7608

 

 

 

 

 

 

(CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE.
BO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY.) y

Vi. CAUSE OF ACTION

DGUSL 7GQHF/

2s USC 13Y

DEUIC 133/

 

 

 

 

 

 

Vil. REQUESTED IN CHECK IF THISISACLASS ACTION DEMAND $ CHECK YES only if dem in complaint:
COMPLAINT: DO UNDER FR.C.P 23 JURY DEMAND: s ONO
VIII. RELATED CASE(S) (See instructions): LvAtanf ,
ie ANY JUDGE 7 DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY ! ( 7 U (
RECEIPT # AMOUNT. APPLYING IFR. JUDGE MAG. JUDGE

 

 

 
Case an Yaa Document 1 Filed ee Page 110 of 110

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

1. Title of case (name of first party on each side only) Cah bedhur ~ Ul ft ‘ d/ fi 2 7

PELERKS OFFICE

a

 

2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local

rule 40.4(a)(1)). mn ofc 10 P24

I. 160, 410, 470, R.23, REGARDLESS OF NATURE OF SUIT.

U.S. DISTRICT COURT

xX bt 195, 368, 400, 2D) 441-444 540, 50, 555, 625, 710, 720,730, “Also completerQ TPG ADR MASS.
740, 790, 791, 820*, 830*, 840*, 850, 890, 892-894, 895, 950. for patent, trademark or copyright cases

__ Hl. 110, 120, 130, 140, 151, 190, 210, 230. 240, 245, 290, 310,
315, 320, 330, 340, 345, 350, 355 62, 365, 370, 371,
380, 385, 450, 891.

NV. 220, 422, 423, 430, 460, 510, 530, 610, 620, 630, 640, 650, 660,
690, 810, 861-865, 870, 871, 875, 900.

mum 02-1237 2RCL

3. Title and number, if any, of related cases, (See local rule 40.1(g)). If more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court,

 

4. Has a prior action between the same parties and based on the same claim ever been filed in this court?

yes O NO

“A

5, Does the complaint in this case question the constitutionality of an act of congress affecting the public Interest? (See 28
USC §2403)

ves O NO
If so, is the u.s.a. or an officer, agent or employee of the u.s. a party?

yes O NO

6. Is this case required to be heard and determined by a district court of three Judges pursuant to title 28 usg.§2284?
yes NO

aN

7. Do all of the parties in this action, excluding governmental agencies of the united states and the commonwealth of
massachusetts (“governmental agencies"), residing in massachusetts reside in the same division? - (See local rule 40.1(d)).

YES no O
A. If yes, In which divisign do all of the non-governmental parties reside?
Eastern Division Central Division C Western Division O
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental!
agencies, residing in Massachusetts reside?
Eastern Division C] Central Division 0 Western Division O

8. if filing a Notice of Removal - are there any motions pending in the state court requiring the attention of thls Court? (If yes,
submit a separate sheet identifying the motions)

no O
(PLEASE TYPE OR PRINT)

ves O
ATTORNEY'S NAME JIM Pr. Pe fe
ADDRESS 60.) Te ft J§ C302 [orn

TELEPHONE NO. (ot a 23_ F227.

 

 

(Cover sheet local.wpd - 09/12/02)

 
